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                  UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF SOUTH CAROLINA
                      CHARLESTON DIVISION




                                            MDL No. 2:18-mn-2873-RMG

IN RE: AQUEOUS FILM-FORMING FOAMS
PRODUCTS LIABILITY LITIGATION

                                            This Document relates to:
                                            ALL CASES




            PLAINTIFFS’ OPPOSITION TO DEFENDANTS’
     MOTION FOR PARTIAL SUMMARY JUDGMENT ON THE FIRST
  ELEMENT OF THE GOVERNMENT CONTRACTOR IMMUNITY DEFENSE
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        Plaintiffs, through Co-Lead Counsel for the Plaintiffs’ Executive Committee (“PEC”),

respectfully submit this Opposition to Defendants’ Motion for Partial Summary Judgment on the

First Element of the Government Contractor Immunity Defense and its accompanying

memorandum (ECF Nos. 1965 & 1965-1) [“Motion” and/or “Defs’ Mem.”].

I.      INTRODUCTION

        After causing the contamination of the nation’s drinking water and exposing hundreds of

millions of Americans to toxic PFOS and PFOA (“PFAS”), Defendants seek to hide behind the

Government Contractor Defense (“GCD”), contending that the United States government

(“government”) mandated that they use these specific surfactants to manufacture their proprietary

Aqueous Film-Foaming Foam (“AFFF”). But nothing in the government’s Military Specification

(“MilSpec” or “MIL-F-24385”) required Defendants to use these specific surfactants. The only

guidance provided by the performance-oriented MilSpec was that the AFFF contain “fluorocarbon

surfactants,” part of a broader family of chemicals consisting of thousands beyond PFOA and

PFOS. No further qualification or elaboration of the chemistry for those fluorosurfactants was ever

mentioned. On its face, the first element of the GCD – that the MilSpec be “reasonably precise” –

cannot be met.

        Defendants’ arguments otherwise gloss over the many genuine disputes of material fact

and tell only a one-sided self-serving narrative. When put into a proper context with a full factual

record, as is provided below, genuine disputes of material fact exist such that partial summary

judgement should be denied.

        Consider, for example, the following three critical facts omitted and/or misrepresented in

Defs’ Mem.:




                                                 1
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       (1) Defendants omit that Naval Research Laboratories (“NRL”) never owned the
           compound patents for the fluorosurfactants used in AFFF, including PFOA
           and/or PFOS, nor the composition patents for the AFFF formulations themselves.1
           In fact, the NRL patent application Defendants reference, made initially in 1963, was
           rejected in its entirety by the United States Patent & Trademark Office, (affirmed on
           appeal), precisely because 3M already owned the patents- for PFOA (1951) and PFOS
           (1956). Thus, the NRL could only obtain a method patent in 1966 covering the mere
           use of the already 3M-patented compounds and AFFF formula.2 This method patent
           was entirely different than both the composition of the fluorocarbon surfactant and the
           combination of the fluorocarbon surfactants used in AFFF.3 Of further contextual
           importance is that the fluorosurfactant in 3M’s AFFF used by DoD was for decades
           maintained by 3M as a trade secret. On this point, United States witness, Robert
           Darwin, the former Director of the Fire Protection Division of Naval Sea Systems
           Command (“NAVSEA”), who is considered the original custodian of MIL-F-24385,
           characterized these fluorosurfactants as the Defendants’ proprietary “REDACTED ”
           because the chemical formula was never even known to DoD.4

       (2) Defendants contend that the military “constrained the types of fluorosurfactants”
           available to produce AFFF through the performance specifications of MIL-F-
           24385 (specifically the ability to extinguish a fire within a certain period of time
           while preventing burn back), which limited them to “only certain fluorocarbon
           surfactants”– namely PFOS or PFOA – out of the many thousands of such
           compounds known to exist. (Defs’ Mem. at 14, 40). This contention is simply false.
           At a minimum, this contention presents a highly disputed question of fact, which is
           controverted by the annexed Declaration of Plaintiffs’ expert, Gregory Walton. P.E. As
           a chemical and process engineer, Mr. Walton notes that at least one manufacturer
           developed AFFF concentrates that met MIL-F-24385’s performance specifications
           without PFOA, PFOS and/or their precursors,5 in 1982, using primarily C6
           fluorosurfactants (95% C6, 4% C4, 1% C8), 6 with the unintended minute percentages


1
  See Decl. of Pls.’ Expert Patrick Lowder, Ph.D, J.D. (“Lowder Decl.”) and attachments thereto,
attached to the Decl. of Michael A. London (“London Decl.”) as Ex. 1.
2
  Id. at ¶¶ 3-13.
3
  Id.
4
  See Dep. Tr. of Robert Darwin, dated Apr. 28, 2021 (“Darwin Dep. Tr. Vol. I”), attached to
London Decl. as Ex. 2, at 46:23-47:2. Mr. Darwin further testified       REDACTED
                               See id. at 109:6-21 (                 REDACTED
                                                               Given his role as the original custodian
of the AFFF MilSpec, the fact that he had never even heard of PFOS and/or PFOA prior to 2000,
renders any argument that the MilSpec required either of these two surfactants to be included in
AFFF incredible.
5
  A precursor chemical is a chemical capable of transforming into another compound through
chemical reactions.
6
  It is undisputed that C6 is a safer (i.e., less bioaccumulative) alternative to PFOS and PFOA that
has been available for 40 years and is used today.
                                                  2
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          of C8 being so low as to not effect performance properties, or cause widespread PFOA
          contamination of drinking water. Further, the United States admits in this case: “AFFF
          MilSpec has never required that AFFF contain PFOA or PFOS.” 7 Further still,
          Defendant National Foam’s Senior Research Scientist, Anne Regina, famously dubbed
          the “Queen of Foam,” because of her lengthy tenure working with AFFF, testified that
                                        REDACTED                                       .”8

       (3) Defendants contend that by January 2009, “there can be no dispute that the
           military had, by any measure, the necessary relevant information about MilSpec
           AFFF” (Defs’ Mem. at 45), including the potential risk of harm to humans from
           PFOS and PFOA in such foam. But a dispute, in fact, exists – the government was
           not sufficiently informed of the potential hazards to human health from AFFF use, such
           that it could be said to have continued to use AFFF knowing of such hazards, until at
           least 2016 (at the earliest). Dr. Janet Anderson, a toxicologist who worked for the EPA
           and the Air Force, attested that any studies on AFFF from the 1960’s through the 1990’s
           were insufficient to warn the DoD of potential human health effects or long-term
           consequences from AFFF release to groundwater.9 Further, Dr. Linda Birnbaum, a
           toxicologist formerly employed by the federal government for over forty years, and the
           former director of the National Institute of Environmental Health Sciences and the
           National Toxicology Program, after reviewing the record presented in Defs’ Mem.,
           opines that, “[t]he small set of studies conducted by the DoD and/or their agencies or
           outside contractors singled out and relied upon by Defendants in support of their claim
           that the DoD had full knowledge of the toxicity of AFFF are not of the type, quality,
           and scope to allow the EPA or DoD to conclude that the military’s use of AFFF was
           hazardous to human health.”10 Such a determination could not have been made any
           earlier than 2016, when the United States Environmental Protection Agency (“EPA”),
           the agency upon whom the DoD is required to rely for guidance regarding
           management decisions in the use of potentially toxic and harmful products and

7
  The United States of America’s Responses to Plaintiffs’ First Set of Amended Requests for
Admission (“US Resp. to Pls.’ RFAs”), attached to London Decl. as Ex. 3, at p. 3, Resp. to RFA
No. 5.
8
  Dep. Tr. of Anne Regina, dated Dec. 2, 2020 (“Regina Dep. Tr. Vol. II”), attached to London
Declaration as Ex. 4, at 502:20-503:6 (emphasis added).
       Q.                                 REDACTED



                                 r                   REDACTED

9
  Decl. of Janet K. Anderson, Ph.D., dated Nov. 29, 2021, and Exhibit A (Expert Opinion of
Janet K. Anderson, Ph.D., D.A.B.T., dated Nov. 22, 2019) attached thereto, attached to London
Decl. as Ex. 5, at p. 2 of Ex. A.
10
   Decl. of Pls.’ Expert Linda S. Birnbaum, Ph.D., D.A.B.T., A.T.S. (“Birnbaum Decl”) and
attachments thereto, attached to London Decl. as Ex. 6, at ¶¶ 11c, 27.
                                                3
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            chemicals, issued its lifetime health advisory (LHA) wherein, for the first time, made
            a final determination and quantification of an amount of PFOA and/or PFOS present
            in drinking water that posed a potential risk to human health.11 In fact, on the heels of
            the EPA’s issuance of its LHA, the DoD began a program to discontinue use, and to
            replace any and all, remaining inventory of PFOA or PFOS-based foams.12

        Only through omission and deliberate obfuscation can Defendants sustain their argument

that there are no genuine disputes of material fact. In failing to tell the “rest of the story,” as Paul

Harvey, the famous news journalist, used to say, Defendants present a myopic, one-sided tale filled

with misleading, and conclusory assertions.

        Defendants’ failure to provide a single supporting expert affidavit to assist this Court in the

interpretation of highly complex subjects of chemistry, biology, bioaccumulation, environmental

sciences, patent law, and toxicology, to name a few, in a case that so obviously requires expert

analysis and opinion, is perhaps their ultimate fatal flaw. As the movant on a matter involving an

affirmative defense, Defendants have the burden to conclusively establish the essential elements

of their defense. Defendants ask this Court to step into the role of juror and fact finder to decipher

the meaning of the scientific studies they provide (much of which is inadmissible evidence)13 based

on mere argument by counsel. The danger of relying on counsel to interpret expert data becomes

obvious when reading the defense brief, which conflates two completely different areas of

scientific inquiry --- environmental toxicology and human toxicology. Plaintiffs provide the expert

declaration of Dr. Linda Birnbaum to explain that an environmental toxicology study does not




11
   Id. at ¶ 19.
12
   PFOA or PFOS-based foams are sometimes referred to herein as “long-chain” MilSpec AFFF
because the fluorosurfactants incorporated into such AFFFs contain 8-carbon chain length (or
more) molecules as intended and active ingredients.
13
   Plaintiffs accompany this Response with their Rule 56(c) Objections to Evidence Submitted in
Support of Defendants’ Motion for Partial Summary Judgment on the First Element of the
Government Contractor Immunity Defense to address the evidentiary deficits in Defendants’
motion.
                                                   4
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generate data relevant to human health concerns. She clarifies that this distinction is directly

relevant to the question of what the government knew, and when, about the potential for harm to

humans posed by the use of AFFF.

         The controverted factual record presented here cannot shield the Defendants from liability

under the GCD. When “the rest of the story” is told, the government’s knowledge, especially as it

varies over time, is demonstrably a question of fact for the jury that cannot be determined without

weighing facts and credibility. Plaintiffs’ Opposition provides the Court with the rest of the story,

which confirms that neither: (1) MIL-F-24385 is “reasonably precise” on its face; nor (2) did the

government continue to purchase and use MilSpec-AFFF containing PFOS, PFOA, and/or their

precursors with adequate knowledge of the dangers associated with these noxious chemicals.

         As such, the Motion for Partial Summary Judgment must be denied.

II.      RELEVANT FACTUAL BACKROUND

         This case involves one of the most egregious examples of corporate malfeasance in

American history, which has resulted in PFAS contamination across the planet. Highly mobile in

soil and water, and impervious to degradation, PFOA and PFOS have been found in virtually every

corner of the earth, and in nearly every living thing: from house dust, to human blood, to wildlife

everywhere, including in fish and animals as far away as the Arctic circle.14 It has been found in

human breast milk and the blood of practically every American.15 In March of this year, PFAS

were even found atop Mt. Everest.16



14
   Dep. Tr. of 3M toxicologist John Butenhoff, Ph.D., dated July 24, 2020 (“Butenhoff Dep. Tr.
Vol. II”), attached to London Decl. as Ex. 7, at 533:6-536:4, 538:18-542:17.
15
   Id.
16
   Carpenter, Murray, “‘Forever chemicals,’ other pollutants found around the summit of Everest,”
The Washington Post, April 17, 2021, available at https://www.washingtonpost.com/science/mt-
everest-pollution/2021/04/16/7b341ff0-909f-11eb-bb49-5cb2a95f4cec_story.html (last accessed
Nov. 19, 2021), attached to London Decl. as Ex. 8.
                                                 5
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        As early as the mid-1970s, 3M was aware that PFOS, a unique compound made almost

exclusively by 3M (and incorporated into LightWater® AFFF for decades),17 was found in the

blood of the general population. Yet, as discussed in greater detail below, 3M kept that information

secret, with its lawyers advising 3M scientists “not [to] reveal the true identity of PFOS” in the

blood of the general population.18,19 Like 3M, the AFFF-telomer Defendants,20 i.e., those

Defendants involved in the manufacture of AFFF through the telomerization process, also

consistently misrepresented the safety of their AFFF to DoD. The totality of this historical

background sets the stage for the sweeping breadth of PFAS information that was always known

by industry and never disclosed to the government.

        A. 3M Developed the Original Fluorosurfactants Used in AFFF and Marketed AFFF
           Under the Brand Name LightWater®

        3M began manufacturing PFAS in the 1940s and acquired the patent rights to the




17
   See, e.g., Walker Dep. Ex. DL156, attached to London Decl. as Ex. 9, at 3M_BELL01511645-
46; 3M_AFFF_MDL02318474, attached to London Decl. as Ex. 10, at
3M_AFFF_MDL02318474; 3M_BELL00848209, attached to London Decl. as Ex. 11, at
3M_BELL00848209; Butenhoff Dep. Ex. DL104, attached to London Decl. as Ex. 12, at DOD04-
00015691; Gerber Dep. Ex. DL1423, attached to London Decl. as Ex. 13, at p. 4;
3M_AFFF_MDL00354270, attached to London Decl. as Ex. 14, at 3M_AFFF_MDL00354275;
PENNA-NAVY-018123, attached to London Decl. as Ex. 15, at PENNA-NAVY-018125; Santoro
Dep. Ex. DL187, attached to London Decl. as Ex. 16, at 3M_AFFF_MDL01092214; Mader Dep.
Exs. 7 and 8, attached to London Decl. as Ex. 17 and 18, respectively; Olson Dep. Ex. LP2,
attached to London Decl. as Ex. 19, at p. 4989; see also Butenhoff Dep. Tr. Vol. II, Ex. 7, at 542:6-
17 (3M is the likely source of PFOS in global environmental media).
18
   Gerber Dep. Ex. LP68, attached to London Decl. as Ex. 20.
19
   Even 3M’s top toxicologist acknowledged, when asked at his deposition herein, that in 1975 3M
internally had reason to suspect PFOS was in the blood of the general population. See Dep. Tr. of
John Butenhoff, dated July 23, 2020 (“Butenhoff Dep. Tr. Vol. I”), attached to London decl. as
Ex. 21, at 300:2-10.
20
   This includes all Defendants except 3M. As discussed below, telomerization is an alternative
manufacturing process to 3M’s process for manufacturing fluorosurfactants.
                                                 6
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electrochemical fluorination (“ECF”) process in 1950.21 Using this technology, 3M developed a

new class of chemicals known as fluorocarbons, including fluorinated surfactants22 or

fluorosurfactants.23 3M subsequently received patents for specific fluorocarbon compounds,

including PFOA and PFOS, throughout the 1950s and 1960s.24

        Despite the “amazingly unique surface properties”25 of these compounds, 3M struggled to

find commercial applications for its fluorosurfactants. An article published in the March 1952 issue

of POPULAR MECHANICS magazine, aptly titled --- “WANTED --- Jobs for a Trillion New

Chemicals” --- explained that although “it’s theoretically possible to produce around a trillion

fluorocarbon compounds,” and that 3M had identified “possible uses” for fluorocarbons, the

company had not yet found commercial uses for them.26 Lacking commercial applications for its

fluorochemicals, 3M published a “series of trade advertisements that featured the surfactant

technology and made specific reference to the unique properties obtainable with the




21
   U.S. Patent No. 2,519,983 (issued Aug. 22, 1950), attached to the London Decl. as Ex. 22; see
also Lowder Decl., Ex. A, for full details regarding the 3M and NRL patent history; Declaration
of Plaintiffs’ Expert Gregory M. Walton, P.E. and accompanying attachments (“Walton Decl.”),
attached to the London Decl. as Ex. 23, for further discussion regarding the ECF process.
22
   The word “surfactant” is a truncation of “surface active agent,” a chemical that lowers the
surface           tension           of          a           liquid,          available          at
https://www.collinsdictionary.com/us/dictionary/english/surfactant (last accessed Nov. 29, 2021).
23
   Dep. Tr. of 3M senior technical manager Michael Falco, dated Nov. 18, 2020 (“Falco Dep. Tr."),
attached to London Decl. as Ex. 24, at 161:21-163:13 (confirming how fluorocarbons came to be
generated and invented by 3M in the 1950s as described in Falco Dep. Ex. DL390).
24
   3M_AFFF_MDL02153586 (U.S. Patent 2,567,011 (issued Sept. 4, 1951)), attached to London
Decl. as Ex. 25; Falco Dep. Exs. DL434 (U.S. Patent 2,732,398 (issued Jan. 24, 1956)), DL437
(U.S. Patent 2,759,019 (issued Aug. 14, 1956)), and DL438 (U.S. Patent 2,764,602 (issued Sept.
25, 1956)), attached to London Decl. as Exs. 26, 27, and 28, respectively; U.S. Patent 2,809,990
(issued Oct. 15, 1957), attached to London Decl. as Ex. 29; U.S. Patent 3,245,817 (issued Apr. 12,
1966), attached to London Decl. as Ex. 30; see also, Attachments C-D to Lowder Decl., Ex. 1.
25
   3M_AFFF_MDL02153586, Ex. 25, at 3M_AFFF_MDL02153589.
26
   Falco Dep. Ex. DL390, attached to London Decl. as Ex. 31, at 3M_AFFF_MDL00579820,
579821, and 579827; see also Falco Dep. Tr., Ex. 24, at 157:9-171:12 (discussing Falco Dep. Ex.
DL390).
                                                 7
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fluorochemical molecule.”27 In 3M’s own document, entitled, The History of the Development of

“Light Water” Brand Aqueous Film Forming Foam Concentrates, this advertising campaign was

described as follows:

        The ads appeared in chemical industry trade journals and were designed to attract
        the bench chemist. When a request for more information was received from one of
        these ads, the respondent was sent a questionnaire in which he was asked to define
        his problem. The returned questionnaire was then screened by a committee from
        the laboratory and Commercial Development Department, and certain surfactant
        samples were sent. These samples were intended to be tried in the customer’s
        laboratory as the solution to his problem. The samples were given ‘L’ numbers
        so that their chemical structure would not be identified.28

        The advertising campaign worked. In March 1962, E.J. Jablonski and Dr. Richard L. Tuve

at the NRL responded to one of 3M’s advertisements, inquiring about materials that might aid in

the development of a new type of fire-fighting foam, referred to as AFFF.29 Over the next few

months, 3M sent several samples of its surfactant L-1083 (later redesignated FX172), labeled as

such so as to keep the chemical composition secret to NRL, and visited NRL at least twice to

discuss their fluorosurfactant properties and to review testing results.30 3M also began working




27
    Falco Dep. Ex. DL124 (3M’s History of the Development of Light Water AFFF), attached to
London Decl. as Ex. 32, at 3M_AFFF MDL01297999.
28
   Id.(emphasis added); see also Darwin Dep. Exs. DL388 (1961 3M advertisement for
fluorochemical “superfactant” with request for information coupon stating, “TELL ME MORE
about 3M Surfactants!”, at US-Darwin-00006296) and DL389 (similar 3M advertisement),
attached to London Decl. as Exs. 33 and 34, respectively.
29
    Falco Dep. Ex. DL124, Ex. 32, at 3M_AFFF_MDL01298000; see also Darwin Dep. Tr. Vol. I,
Ex. 2, at 141:19-23 (                 REDACTED                         Dep. Tr. of Director of
Test Operations and lead AFFF qualifier at the NRL John Farley, dated June 24, 2021 (“Farley
Dep. Tr. Vol. I”), attached to London Decl. as Ex. 35, at 107:17-108:12 (cREDACTED
30
   Falco Dep. Ex. DL124, Ex. 32, at 3M_AFFF MDL01298000. Notably, NRL’s investigation into
AFFF containing 3M’s fluorosurfactants, along with samples of the proprietary fluorosurfactants
themselves, was also disclosed to Defendant National Foam in the early 1960s because “[i]t was
assumed…that the manufacture of a commercial fire fighting foam would be done by companies
already in the foam business.” Id. at 3M_AFFF MDL01298001.
                                                8
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with Defendant Ansul Company to develop an effective AFFF dispensing system for the Navy.31

        In 1963, 3M created its first successful AFFF formulation FX183, or “Light Water,” and

established pricing for sale to the Navy and Ansul.32 The following year, 3M and Ansul entered

an agreement for testing and finalizing 3M’s AFFF formulations for sale to the military and

commercial markets. The companies continued to reformulate Light Water for the military

throughout the 1960s, including the development of a seawater compatible foam after a tragic deck

fire occurred on the USS Forrestal Aircraft carrier.33

        In fact, when NRL attempted to obtain patents for the fluorosurfactants used in AFFF in

1963, it was rejected by the US Patent Office because 3M already held patents for those

fluorosurfactants, including the patents for PFOS and PFOA, as mentioned above.34

                                            REDACTED


                                                                       .35 In general, a MilSpec

allows commercial manufacturers to sell products to the Navy (and other branches) as long as




31
   Id. at 3M_AFFF MDL01298000.
32
    3M’s final formulation of Light Water AFFF contained PFOS as the fluorosurfactant. See
Butenhoff Dep. Ex. DL13, attached to London Decl. as Ex. 36, at 3M_AFFF_MDL00080689
(“FC-95 - C8F17SO’3K [PFOS potassium salt]” is the fluorochemical surfactant in Light Water
AFFF).
33
   See Falco Dep. Ex. DL124, Ex. 32, at 3M_AFFF MDL01298001-03; see also Falco Dep. Tr,
Ex. 24, at 189:19-227:12 (discussing Falco Dep. Ex. DL124); Falco Dep. Ex. DL387 (3M
advertisement stating “The Navy believes” in 3M’s Light Water), attached to London Decl. as Ex.
37.
34
   See Lowder Decl., Ex. 1, at ¶¶ 4-13 and Attachment B thereto; see also Farley Dep. Ex. DL1385
(Decl. of John P. Farley), attached to London Decl. as Ex. 38, at ¶ 7.
35
   Farley Dep. Ex. DL1385-4, attached to London Decl. as Ex. 39, at PENNY-NAVY-010913; see
also Farley Dep. Ex. DL1385, Ex. 38, at ¶¶ 8-17; Darwin Dep. Tr. Vol. I, Ex. 2, at 74:6-12, 75:7-
11, 77:21-78:16                                  REDACTED


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those products satisfy the requirements set out in the MilSpec.36 The AFFF MilSpec is a

performance specification that indicates the required physical properties and fire extinguishing

performance aspects of AFFF. 37 The NRL tests any eligible AFFF product on behalf of NAVSEA

based on the testing requirements in the MilSpec, including laboratory tests (e.g., toxicity to marine

life) and field tests (e.g., burnback). Any product that meets the NRL’s MilSpec testing

requirements is then listed on the Qualified Product Listing (“QPL”), the first of which was 3M’s

Light Water in 1970.38,39

        From 1969 to 2019, the AFFF MilSpec has required “fluorocarbon surfactants plus other

compounds as required to conform to the requirements specified hereinafter,” which “shall have
                                                                                         40
no adverse effect on the health of personnel when used for its intended purpose.”             Over the

course of that fifty (50)-year span, the Navy never edited or narrowed the scope of the term

“fluorocarbon surfactants.” 41 The first time the MilSpec even referenced PFOS and PFOA was in

2017 and not as a requirement but as a limitation on its presence as an impurity not to exceed

0.00008%, if any.42 Further, it was only in 2019 that NAVSEA removed the “fluoro” from the

surfactant requirement, 43 but even that revision does not prevent the use of fluorosurfactants, rather




36
   Farley Dep. Ex. DL1385, Ex. 38, at ¶ 8.
37
   US Resp. to Pls.’ RFAs, Ex. 3, at p. 3, Resp. to RFAs No. 1-4.
38
   Farley Dep. Ex. DL1385, Ex. 38, at ¶¶ 9-11.
39
   AFFF products from other Defendants made using the telomerization process (see Walton Decl.,
Ex. 23, at ¶¶ 14-28 for explanation), including most notably Ansul and National Foam, were listed
on the QPL beginning in the mid-1970s. See Kleiner Dep. Ex. BB556, attached to London Decl.
as Ex. 41, at p. 1.
40
   Darwin Dep. Ex. DL436 (MIL-F-24385, dated Nov. 21, 1969), attached to London Decl. as Ex.
42, at NAVY01-000000905; see also DOD01-000005595 (MIL-PRF-24385F(SH), dated Sept. 7,
2017, attached to London Decl. as Ex. 43, at DOD01-000005598.
41
   Farley Dep. Ex. DL1385, Ex. 38, at ¶¶ 16.
42
   DOD01-000005595, Ex. 43, at DOD01-000005599.
43
   NAVY01-000021563 (MIL-PRF-24385F(SH), dated May 7, 2019), attached to London Decl.
as Ex. 44, at NAVY01-000021563 and -21565.
                                                  10
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it only further broadens the manufacturers’ discretion to meet the performance specifications of

the MilSpec. Consistent with all prior versions, the current AFFF MilSpec does not require that a

foam concentrate contain any specific fluorosurfactant, including PFOA or PFOS.44

        B. 3M Has a Long History of Manufacturing Both PFOA and PFOS and Concealing
           the Totality of its Knowledge Regarding the Toxicity of these Chemicals from The
           Government.

        As noted above, 3M manufactured an AFFF concentrate that was branded under the trade

name LightWater®.45 Although Defendants contend that NRL developed the name “Light Water”

for AFFF,46 the reality is 3M held the registered trademark for the term “Light Water”.47 Defendant

3M manufactured and utilized its own fluorosurfactant, i.e., PFOS, sourced from its

perfluorooctanesulfonyl fluoride (“POSF”) chemistry, as the fluorosurfactant that powered its final

AFFF concentrate.48 Prior to 3M’s exit from the perfluorooctanyl chemistry49 market in May

2000,50 it occupied by far the largest market share of AFFF sales to the United States government.51




44
   See Walton Decl., Ex. 23, at ¶ 31 and Attachment F (MIL-PRF-24385F(SH), dated Apr. 7,
2020); US Resp. to Pls.’ RFAs, Ex. 3, at p. 3, Resp. to RFA No. 5.
45
   See, e.g., 3M_AFFF_MDL00015412 (Advertisement for LightWater® AFFF FC-200), attached
to London Decl. as Ex. 45.
46
   Defs’ Mem. at 10.
47
   Falco Dep. Ex. DL124, Ex. 32, at 3M_AFFF MDL01298002.
48
   Walton Decl., Ex. 23, at ¶ 15 (3M used an 8 carbon mercaptan as their starting material to
produce their desired product, perfluorooctanesulfonyl fluoride (“POSF”) upon which all their
fluorochemical products and intermediates were based on - including PFOS).
49
   Perfluorooctanyl chemistry includes eight-carbon compounds where all of the hydrogen atoms
are replaced by fluorine, and includes both PFOA and PFOS compounds. See Dep. Tr. of Tyco
toxicologist John Prins, Ph.D., D.A.B.T., dated Jan. 21, 2021, relevant pages attached to London
Decl. as Ex. 46, at 28:8-18, 37:1-20.
50
   Reich Dep. Ex. DL49 (3M phaseout announcement), attached to London Decl. as Ex. 47.
51
   3M_AFFF_MDL01397437 (Hughes Associates, Inc. Estimated Quantities of Aqueous Film
Forming Foam (AFFF) in the United States), attached to London Decl. as Ex. 48, at
3M_AFFF_MDL01397462 (noting that historically 3M was the primary supplier of MilSpec
AFFF to DOD).
                                                11
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        In the 50 years that 3M manufactured and sold PFAS-containing products, including its

AFFF, it investigated them extensively, generating hundreds of studies and reports relating to their

toxicology, pharmacology, epidemiology, teratology, carcinogenicity, fate, transport and human

exposure.52 These studies repeatedly identified and confirmed the human and environmental risks

associated with its PFAS containing products—information that 3M chose not to adequately and

timely disclose to appropriate government authorities, including EPA, despite having a regulatory

obligation to do so under the Toxic Substances Control Act (“TSCA”).53 In the few instances when

3M did provide information to EPA, it did so in an incomplete and misleading manner.

        3M’s lack of transparency regarding human exposure to PFOS is the cause for the

government’s ignorance. 3M waited over 20 years, until 1998, to notify the EPA that PFOS had

contaminated the globe and could be found in the blood of virtually every man, woman, and

child.54 In an attempt to conceal their delayed disclosure, 3M claimed this discovery to be “a

complete surprise” that was only revealed by recent advancements in analytical techniques.55 But,

as set forth below, this explanation was untrue.




52
   See, e.g., Zobel Dep. Ex. BB226 (a 90-page index of studies performed by 3M during the 1970s,
80s and 90s, including pages of studies on PFOS and PFOA.), attached to London Decl. as Ex. 49.
53
    Section 8(e) of TSCA states: ‘‘Any person who manufactures, [imports,] processes, or
distributes in commerce a chemical substance or mixture and who obtains information which
reasonably supports the conclusion that such substance or mixture presents a substantial risk of
injury to health or the environment shall immediately inform the [EPA] Administrator of such
information . . . .” 15 U.S.C. § 2607(e).
54
   3M reported this information “as a precautionary measure” to the EPA on May 15, 1998. This
disclosure to the EPA is widely credited as the initiating event that began EPA’s investigation into
PFAS compounds. Gerber Dep. Ex. DL353, attached to London Decl. as Ex. 50; see also
3M_AFFF_MDL01669634, attached to London Decl. as Ex. 51, at 3M_AFFF_MDL01669634
(EPA “has been assessing perfluorinated compounds since 1999…prompted by reports submitted
to the agency describing the toxic properties and widespread presence in the environment,
including in human populations, of some of these chemicals.”).
55
   See Olsen Dep. Ex. LP193, attached to London Decl. as Ex. 52, at p. 3; see also Reich Dep. Ex.
DL49, Ex. 47.
                                                   12
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        In reality, 3M learned in the summer of 1975 that two independent toxicologists, Drs.

Warren Guy and Donald Taves, had discovered the presence of an unidentified organic fluorine

compound in human blood from different blood banks. In multiple calls, Drs. Guy and Taves asked

3M if it knew of the “possible sources” of the chemicals they found in the blood of the general

population, as Dr. Guy “somewhere […] got the information that 3M’s fluorocarbon carboxylic

acids are used as surfactants and wanted to know if they were present in ‘Scotchgard’ or other

items in general use by the public.”56 Incredulously, 3M chose to “plead ignorance” and instead

“adopted a position of scientific curiosity and desire to assist in any way possible ...”57

        That same summer, 3M submitted 10 samples of 3M’s PFAS compounds to its Central

Research Analytical Laboratory “in an attempt to identify the material found by [Drs.] Guy and

Taves in human blood.”58 On November 6, 1975, 3M scientist Richard Newmark of the Central

Analytical Laboratory authored a report that concluded the fluorine compound discovered

“resembled most closely” PFOS—a chemical manufactured only by 3M.59,60 Despite pledging

assistance to Drs. Guys and Taves in the characterization of this mystery chemical, 3M declined

to share their information. An internal 3M timeline explained why: “3M lawyers urge [Central

Analytical Laboratory] not to release the true identity (PFOS) of the [fluorine] compound.”61 Even




56
   Gerber Dep. Ex. DL11, attached to London Decl. as Ex. 53, at 3M_AFFF_MDL00419718-19;
see also, generally, Gerber Dep. Exs. LP207 and BB424, attached to London Decl. as Exs. 54 and
55, respectively.
57
   Gerber Dep. Ex. DL11, Ex. 53, at 3M_AFFF_MDL00419719.
58
   Gerber Dep. Ex. DL8, attached to London Decl. as Ex. 56, at 3M_BELL00054589.
59
   Gerber Dep. Ex. DL9, attached to London Decl. as Ex. 57.
60
   It is worth noting that subsequent to the work of Drs. Guy and Taves, 3M acquired its own
pooled blood from the American Red Cross and replicated the work and results of Drs. Guy and
Taves – specifically that PFOS was present in the blood of the general population. Dep. Tr. of 3M
Fed. R. Civ. 30(b)(6) witness John Gerber, dated Aug. 19, 2021 (“Gerber Dep. Tr."), attached to
London Decl. as Ex. 58, at 210:23-212:7.
61
   Gerber Dep. Ex. LP68, Ex. 20.
                                                  13
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worse, in 1981, 3M published in the peer-reviewed literature that the mystery chemical observed

by Drs. Guy and Taves was not a man-made chemical at all but was instead a naturally occurring

substance, a patent misrepresentation.62

        3M also conducted toxicology studies on rats, mice, and monkeys, which found that

“[PFOS] was the most toxic of the three compounds studied and certainly more toxic than

anticipated.”63,64 These studies reported “GI tract toxicity, lipid depletion of adrenals, atrophy of

pancreatic exocrine cells and serous alveolar cells of the salivary glands.”65 Indeed, 20 of the 24

rhesus monkeys who participated in this study died as a result of their exposure to PFOS.66,67

Despite this body of knowledge, 3M decided to not disclose this important public health

information to the EPA.68


62
   Olsen Dep. Ex. DL884, attached to London Decl. as Ex. 59.
63
   Internal documents produced by 3M indicate that Drs. Guy and Taves’ finding of PFOS in the
blood of the general population was the initiating “event” that led to 3M’s toxicology studies of
PFOS as well as PFOA. See Butenhoff Dep. Ex. DL13, Ex. 36, at 3M_AFFF_MDL 00080700.
64
   Gerber Dep. Ex. DL1353, attached to London Decl. as Ex. 126, at 3M_AFFF_MDL 02174949.
65
   Butenhoff Dep. Ex. DL13, Ex. 36 at 3M_AFFF_MDL00080705.
66
   Id.
67
   Simultaneously to 3M’s study of the toxicity of PFAS compounds was an investigation into their
environmental attributes. By 1979, 3M had concluded that both PFOA and PFOS had “the
potential for widespread distribution in the environment;” because they would “persist in the
environment;” they were “highly mobile” in soils; and that therefore “waterways” would be their
ultimate “environmental sink.” See Mader Dep. Exs. 16, 18, 19, and 20, attached to London Decl.
as Exs. 60, 61, 62, and 63, respectively.
68
   See Gerber Dep. Tr., Ex. 58, at 90:23-91:25.
        Q: True or false: By 1980, 3M was in possession of information that PFOS was a
        bioaccumluative compound, that it was widespread in the blood of the general
        population, and that it killed rhesus monkeys that were exposed to it. […]

        A: Based on my review of the documents, 3M had all of – had those pieces of
        information […] but […] all of that information needs to be put together and judgment
        applied to making a TSCA 8(e) reporting decision.

        Q: Right. And 3M did that. 3M had all of that information and decided not to disclose it
        at that time in 1980, right?

                                                 14
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       In or around 1998, John Buttenhoff, 3M’s chief toxicologist, calculated an internal “safe

reference level” of PFOS in human blood.69 Although his calculated safe level was thirty times

higher than the median level of PFOS found in the blood of the general population, there is no

evidence that 3M disclosed this important internal determination to EPA, DoD, or any other

regulatory or government agency. At approximately the same time, 3M internally referred to

PFOS as “insidiously toxic” and acknowledged that it should be “replaced.”70 Still, 3M continued

to produce PFOS for four more years.71

       C. AFFF-Telomer Manufacturers

       Because 3M held the patent rights to the ECF process, no other company could fluorinate

chemicals using the ECF method. Therefore, competing companies developed an alternative

chemical process known as fluorotelomerization. Instead of using electricity in a reactor like 3M’s

ECF process, fluorotelomerization is essentially a chemical reaction to manufacture perfluoroalkyl

substances.72 This process produces a mixture of fluorosurfactants with fluorinated carbon chains

containing an even number of carbon atoms (e.g., C2, C4, C6, C8, C10, etc.).73

       Companies such as Defendants DuPont and Clariant would use fluorotelomerization to

manufacture fluorochemicals, sometimes referred to as “telomer iodides” or “intermediates,” and




       A: Yes. I’ve reviewed documents that – you know, after the – those studies were
       conducted, that information was reviewed against EPA’s reporting criteria, and the
       company made the determination that the information was not substantial risk
       information under TSCA 8(e).
69
   Butenhoff Dep Tr. Vol. II, Ex. 7, at 444:9-447:9.
70
   Butenhoff Dep Tr. Vol. I, Ex. 21, at 214:24-217:5.
71
   Id.
72
    Buck, R.C., et al. Perfluoroalkyl and Polyfluoroalkyl Substances in the Environment:
Terminology, Classification, and Origins. Integr. Environ. Assess. Manag. 2011; 7:513-541,
attached to London Decl. as Ex. 64. Dr. Buck is employed by Defendant the Chemours Company.
73
   Walton Decl., Ex. 23, at ¶ 19.
                                                15
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sell them to the producers of fluorosurfactants. The fluorotelomerization process has been used to

create C8 and C6 intermediates since at least the 1970s. As the below depicted AFFF market

channel diagram points out, the fluorosurfactant producers (i.e., Defendants Ciba-Geigy (now

BASF Corp.), Chemguard, Dynax, DuPont, and Atofina (now Arkema, Inc.)) would then sell their

fluorosurfactants to the “telomer-based” AFFF manufacturers (i.e., Defendants Buckeye, National

Foam, Kidde, Ansul, and Chemguard).74




        Unlike 3M’s LightWater® AFFF, which utilized PFOS as the fluorosurfactant, the

telomer-based foam manufacturers generally elected to use fluorosurfactants that were C8, C6, or

a mixture of both carbon-chain lengths. Importantly, the C8-based fluorosurfactants included

PFOA and PFOA precursors that breakdown into PFOA once released into the environment.75

When 3M phased out their C8 chemistry products in 2000, including LightWater®,76 rather than

following 3M’s lead, the telomer-based AFFF manufacturers were quick to fill the market void


74
   3M_BELL02641301, attached to London Decl. as Ex. 65.
75
   Korzeniowski Dep. Ex. DL91, attached to London Decl. as Ex. 66, at p.2.
76
   Reich Dep. Ex. DL49, Ex. 47.
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(and the fluorosurfactant producers were keen to oblige the market demands), and touted their

products as being “PFOS-Free” and safer than 3M’s LightWater.® However, the telomer-based

AFFF manufacturers failed to advise the DoD and its other customers that they continued to use

C8-based fluorosurfactants, which included PFOA and PFOA precursors.77

        Following the 3M phaseout, the EPA began to research C8 chemistries due to their

persistence, bioaccumulative, and toxic properties (“PBT”). In 2006, the EPA urged the eight (8)

largest global manufacturers of PFOA and PFOA precursors to voluntarily phase out their C8

products from 2006 through December 31, 2015.78 The “2010/2015 PFOA Stewardship Program”

was a voluntary program whereby the manufacturers of PFOA and PFOA precursors would

achieve a 95% reduction in emissions and in products by 2010, and a 100% elimination by the end

of 2015.79

        If 3M’s exit from the PFAS market in 2000, at the cost of $200 million per year,80 was not

enough, the 2010/2015 PFOA Stewardship Program surely should have put the telomer-based

AFFF manufacturers and the fluorosurfactant producers on notice to discontinue their C8-based

products, including AFFF. Instead, during this entire period from 2000-2015, the telomer based

foam makers continued to reassure DoD, and the public at large, that their telomer- based AFFF




77
   See infra Section IV.B.3.
78
    See generally EPA, Fact Sheet: 2010/2015 PFOA Stewardship Program, available at:
https://www.epa.gov/assessing-and-managing-chemicals-under-tsca/fact-sheet-20102015-pfoa-
stewardship-program (last accessed on December 6, 2021).
79
   Specifically, the signatory companies included: Arkema, Asahi, BASF Corp. (successor to Ciba-
Geigy), Clariant, Daikin, 3M/Dyneon, DuPont, and Solvay Solexis. See Buck Dep. Ex. DL371,
attached to London Decl. as Ex. 67, at p. 3.
80
   See Reich Dep. Ex. DL49, Ex. 47.
                                               17
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was safe and PFOA-free,81 a representation upon which the DoD reasonably relied.82

III.    LEGAL STANDARDS

        A. Partial Summary Judgment Standard

        Summary judgment is only appropriate if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law as to matters upon

which it has the burden of proof at trial. See Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986);

FED. R. CIV. P. 56(a). “Ordinarily, because of the standard applied at the summary judgment stage,

defendants are not entitled to summary judgment pursuant to the government contractor defense.”

Coach v. Armstrong Int’l Inc., No. CIV.A. 2:12-60180-ER, 2014 WL 7404841, at *1 n.1 (E.D. Pa.

Sept. 25, 2014) (denying summary judgment as to Boyle prong 1 because plaintiff had submitted

affidavits controverting defendants’ evidence as to whether the Navy issued reasonably precise

specifications).

        Defendants’ motion is also flawed because it fails to include an affidavit setting forth expert

opinions in support of their arguments. Although Rule 56 does not specifically require an expert

affidavit in support of every motion for summary judgment, in complex matters involving

scientific evidence, an expert affidavit is typically required because issues such as standard of care,

breach and causation, for example, lay beyond the ordinary realm of lay understanding. See, e.g.,

Looney v. Zimmer, Inc., No. 03-0647-CV, 2004 WL 1918720, at *5 (W.D. Mo. Aug. 19, 2004),




81
   See generally Korzeniowski Dep. Ex. DL93, attached to London Decl. as Ex. 68; see also Regina
Dep. Ex. DL517, at AFFF-MDL-CHE00000911 (2001 FFFC presentation to the EPA stating that
telomer-based AFFF does not contain any PFOA-based products), attached to London Decl. as Ex.
69.
82
   Dep. Tr. of Frederick Walker, who worked for the Air Force for 40 years and is the Chief Fire
Protection Engineer for the Air Force, dated May 19, 2021 (“Walker Dep. Tr. Vol. I”), attached to
London Decl. as Ex. 70, at 173:19-175:24 (t                  REDACTED

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(citing Turner v. Iowa Fire Equip. Co., 229 F.3d 1202, 1210 (8th Cir. 2000); see also In re Lipitor

Mktg., Sales Practice & Prods. Liab. Litig., 226 F. Supp. 3d 557, 569-77 (D.S.C. 2017) (Gergel,

J.) (recognizing that most jurisdictions (including Florida, Massachusetts, and South Dakota – the

three bellwether jurisdictions in this MDL) “require expert testimony at least where the issues are

. . . complex and outside common and lay experience.”).

       B. Government Contractor Defense

       In Boyle v. United Techs. Corp., 487 U.S. 500, (1988), the Supreme Court recognized that

“state law which holds Government contractors liable for design defects in military equipment

does in some circumstances present a ‘significant conflict’ with federal policy and must be

displaced.” Id. at 512.

       Boyle’s formulation of the government contractor defense has roots in the “discretionary

function” defense under the Federal Tort Claims Act, which exempts liability for government

employees’ performance of discretionary functions or duties, even when there is an abuse of

discretion. Id. at 511 (citing 28 U.S.C. § 2680(a)). Thus, the exercise of discretion (i.e., the

government’s approval of “reasonably precise specifications”) is key to the defense. The

“reasonably precise” condition “assure[s] that the suit is within the area where the policy of the

‘discretionary function’ would be frustrated.” Id. at 512. (emphasis added). The policy of the

discretionary function is to prevent courts from “second guessing” discretionary governmental

decisions. Id. (citation omitted).

       “The requirement that the specifications be precise means that the discretion over

significant details and all critical design choices will be exercised by the government.” Trevino v.

General Dynamics Corp., 865 F.2d 1474, 1481 (5th Cir. 1989) (emphasis added). Boyle’s first

prong aims to ensure “that the design feature in question was considered by a Government officer,



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and not merely by the contractor itself.” Boyle, 487 U.S. at 512. “The essence of the defense is to

prevent the contractor from being held liable when the government is actually at fault . . . .”

Campbell v. Brook Trout Coal, LLC, No. CIV.A. 2:07-0651, 2008 WL 4415078, at *9 (S.D.W.

Va. Sept. 25, 2008) (quoting Trevino, 865 F.2d at 1478). “Stripped to its essentials, the military

contractor defense under Boyle is to claim, ‘The Government made me do it.’” In re Joint E. & S.

Dist. N.Y. Asbestos Litig., 897 F.2d 626, 632 (2d Cir. 1990).

       “[S]tate-law claims against military contractors are preempted under Boyle only where the

federal Government has mandated the action that allegedly violated state law.” Badilla v. Midwest

Air Traffic Control Serv., 8 F.4th 105, 122 (2d Cir. 2021) (emphasis added). “The level of

governmental control required is significant; merely providing general direction while leaving the

implementation to others will not suffice.” Pettiford v. City of Greensboro, 556 F. Supp. 2d 512,

540 (M.D.N.C. 2008) (citing Boyle, 487 U.S. at 509). Where the specifications provide only

imprecise or general guidelines, “the contractor retains the discretion over the important design

decision and enjoys no immunity against liability based on the Boyle defense.” Gray v. Lockheed

Aeronautical Sys. Co., 125 F.3d 1371, 1377 (11th Cir. 1997). Indeed, as the Second Circuit

recognized, “[h]ad Boyle’s aim been to prevent military contractors from passing any liability costs

on to the Government it simply could have granted military contractors a blanket immunity from

all state tort liability.” Asbestos Litig., 897 F.2d at 631 (emphasis added).

       Federal courts have consistently confirmed that the affirmative defense presents a question

of fact for the jury. Regarding Boyle prong 1, the Fourth Circuit observes: “whether the facts

establish the conditions for the [government contractor] defense is a question for the jury.” Suhail

Najim Abdullah Al Shimari v. CACI Int’l Inc., 679 F. 3d 205, 217 n.10 (4th Cir. 2012) (quoting

Rodriquez v. Lockheed Martin Corp., 627 F.3d 1259, 1266 (9th Cir. 2010) (citing Boyle)); see also



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Trevino, 865 F.2d at 1480 (“the trier of fact will determine whether the government has exercised

or delegated to the contractor discretion over the product design.”) (emphasis added); see also

O’Connor v. Boeing N. Am., Inc., No. CV 00-0186, 2005 WL 6035255, at *22 (C.D. Cal. Aug. 18,

2005) (denying summary judgment because “a reasonable jury could find that the United States

government provided Defendants with discretion of whether to use TCE” or another chemical.).

        In O’Connor, plaintiffs sued a government contractor for damages they claimed were

caused from drinking water and breathing air that were contaminated with trichloroethylene

(“TCE”) that defendants used in vapor degreasing and rocket engine flushing pursuant to a federal

contract. Id. at *20-21. The defendants asserted that the government “set forth the particular type

of TCE to be used” and that they were “obligated to incorporate the specifications into its own

process specifications . . . .” Id. at *76. In response, the plaintiffs maintained that “no language

from any government contract actually requires the use of TCE.” Id. at *76-77. The court agreed

with the plaintiffs finding that “a reasonable jury could find that the United States government

provided Defendants with discretion on whether to use TCE” and rejected defendants’ motion for

summary judgment on the issue. Id. at *77.

        In support of their Motion, Defendants cite to cases where courts have granted summary

judgment for contractors who Defendants argue retained discretion over designs.83,84 However, the

facts in these cases are dissimilar from Plaintiffs’ case because in each case, the evidence

demonstrated significant government involvement in the specific feature that proved defective.



83
   Defendants do not claim that the government prohibited them from providing product warnings
or instructions to end users. Thus, their Motion does not address plaintiffs’ failure-to-warn claims.
Tate v. Boeing Helicopters, 55 F.3d 1150, 1156 (6th Cir. 1995) (“In the government contractor
defense context, design defect and failure to warn claims differ practically as well as theoretically.
Simply because the government exercises discretion in approving a design does not mean that the
government considered the appropriate warnings, if any, that should accompany the product.”).
84
   See Defs’ Mem. at 6.
                                                 21
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For example, in Tozer v. LTV Corp., the court found the first Boyle element satisfied because the

evidence established that the Navy had specifically asked the contractor to replace its original

design with a different design that the Navy ultimately approved. 792 F.2d 403, 407-480 (4th Cir.

1986). Likewise, in Oliver v. Oshkosh Truck Corp., 911 F. Supp. 1161, 1165 (E.D. Wis. 1996),

the government engaged in ongoing dialogue with the defendant regarding the configuration and

placement of the vehicle’s defective fuel tanks.85

        Defendants argue that they could not comply with the MilSpec requirements without

including PFOS or PFOA in AFFF which is a vital federal interest.86 Plaintiffs’ evidence and

statements from DoD clearly show, however, that AFFF can be manufactured and is being

manufactured without PFOS or PFOA. Therefore, the concern expressed in Boyle that the

government could not perform its federal interest – in this case, obtaining products from

contractors to effectively extinguish fuel-based fires – does not exist or, at a minimum, is an issue



85
   Defendants’ other cases are equally distinguishable.See Carley v. Wheeled Coach, 991 F.2d
1117, 1125 (3d. Cir. 1993) (government approved reasonably precise specifications regarding an
ambulance’s center of gravity, the design feature at issue in the case); Glassco v. Miller Equip.
Co., Inc., 966 F.2d 641, 643 (11th Cir. 1992) (government’s reasonably precise specifications
exceeded eleven pages in length and required the use of leather, not an alternative product);
Gauthreaux v. United States, 694 F. Supp. 2d 460, 466 (E.D. Va. 2009) (government’s “vast
number of other detailed requirements” but not side mirrors on forklift, were reasonably precise
to satisfy Boyle prong 1); Szigedi v. Ensign-Bickford Co, No. 1:00 CV 00836, 2002 WL 32086774,
at *6 (M.D.N.C. July 15, 2002) report & recommendation adopted sub nom. Szigedi v. Ensign
Bickford Aerospace Co., No. 1:00 CV00836, 2003 WL 21003510 (M.D.N.C. Apr. 10, 2003)
(design of a grenade entailed significant collaboration between defendant, the FBI’s Hostage
Rescue Team and Army, Marine and Navy Seals Special Operations force); Yeroshefsky v. Unisys
Corp., 962 F. Supp. 710, 712–13 (D. Md. 1997) (Postal Service participated in and created the
product’s design, had provided precise specifications including descriptions of the keyboard
configuration, key pressure adjustment control, letter sorting rate, speed control, and operator's
console, all of which were related to the repetitive stress injury at issue); Guerinot v. Rockwell
Intern. Corp., 923 F.2d 862 (9th Cir. 1991) (Navy approved all aspects of design of ejection seat
sensor including the use of Loctite locking agent that caused sensor failure); Kase v. Metalclad
Insulation Corp., 212 Cal. Rptr. 3d 198 (Cal. App. 2016) (Navy made a deliberate design choice
that could only be met with the alleged defective product at issue).
86
   See Defs’ Mem. at 17-19.
                                                 22
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for the jury to determine. Likewise, Defendants have also failed to demonstrate that that there is

no genuine dispute as to any material fact relating to whether Defendants’ “obligations to the

government conflict with state law such that [they] may not comply with both.” Ripley v. Foster

Wheeler LLC, 841 F.3d 207, 210 (4th Cir. 2016) (citing Boyle, 487 U.S. at 507-09). Plaintiffs

have provided an abundance of evidence showing that Defendants could have fulfilled their duty

to the government by providing MilSpec AFFF that did not contain PFOA or PFOS.87

IV.     ARGUMENT

        There are two pathways by which Defendants could have satisfied their burden with

respect to Boyle prong 1. See Dowd v. Textron, Inc., 792 F.2d 409, 411-413 (4th Cir. 1986).

Despite the existence of two potential pathways, Defendants failed to satisfy either, and, therefore,

partial summary judgment should be denied. More particularly, and, as set forth below, Defendants

have failed to prove as a matter of law that either: (1) MIL-F-24385 is reasonably precise on its

face and/or (2) that DoD continued to purchase and use MilSpec AFFF containing-PFOA, PFOS

and/or their precursors despite actual knowledge of the dangers to humans associated with these

noxious chemicals.88

        A. Defendants Failed to Demonstrate as a Matter of Law that MIL-F-24385 is
           “Reasonably Precise” On its Face




87
   See Walton Decl., Ex. 23, at ¶¶ 31-36.
88
   In the Fourth Circuit, the government must actually know of the defect to satisfy the GCD. See
Ramey v. Martin-Baker Aircraft Co. Ltd., 874 F.2d 946, 951 n.10 (4th Cir. 1989) (matters known
by contractor must differ from the government about information "not already known to it."); Tozer
v. LTV Corp., 792 F.2d 403, 408 (4th Cir. 1986) (contractor’s knowledge must be “unknown to
the Navy”) ; Dowd v. Textron, Inc., 792 F.2d 409, 412 (4th Cir. 1986) (Army did not request
changes “despite knowing something of the existence and/or efficacy of these devices”)
(emphasis added) ; Yersoshefsky v. Unisys Corp., 962 F. Supp. 710, 721 (D. Md. 1997) (“Nothing
in the record of this case suggests that Burroughs actually knew of any danger with the [device]
that the USPS did not.”) (emphasis added).
                                                 23
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           Defendants first argue that they have satisfied Boyle prong 1 because, according to

Defendants, MIL-F-24385 is “reasonably precise” on its face. This argument should fail because

genuine disputes over material questions of fact exist as to whether MIL-F-24385 is reasonably

precise. In particular, a series of facts defeat every argument that MIL-F-24385 is reasonably

precise as a matter of law: (1) the Navy drafted MIL-F-24385 as a performance specification to

provide manufacturers with the greatest flexibility as to how they would meet its requirements; (2)

AFFF manufacturers have full discretion as to which of the thousands of fluorosurfactants

available for use in AFFF to use in their products; (3) MIL-F-24385 does not mandate the use of

C8 compounds, specifically, PFOA, PFOS and/or their precursors; (4) MIL-F-24385 has never

explicitly required that AFFF contain PFOA, PFOS and/or their precursors; and (5) the Navy, and

DoD in general, lacked actual knowledge of the exact composition of the various fluorosurfactants

formulations of MilSpec AFFF because these formulations were maintained as proprietary trade

secrets.

                1. MIL-F-24385 is a Performance Specification.

           It is undisputed that MIL-F-24385 is a performance specification, not a design

specification. Importantly, the United States admitted it was a performance specification in

response to Plaintiffs’ First Set of Amended Requests for Admissions.89 Although the Defendants

call this distinction a red herring, they too admit that MIL-F-24385 is in fact a performance

specification.

           The government’s custodian of the AFFF MilSpec acknowledged it was a performance

spec:

           Q.                                    REDACTED


89
     US Resp. to Pls.’ RFAs, Ex. 3, at p. 3, Resp. to RFA No. 3.
                                                 24
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        REDACTED




                     90



                                               REDACTED
                    91
                         This evidence is not controvertible and conclusively establishes that MIL-F-

24385 is a performance specification that does not precisely dictate or constrain the design of the

product, particularly its fluorosurfactant components.

              2. AFFF Manufacturers Had Full Discretion as to Which Fluorosurfactant(s) to
                 Use in their AFFF.
        The MilSpec is not so reasonably precise to have “cabined significantly” the Defendants’

choice of using only fluorosurfactants with eight carbons such as PFOA or PFOS.92 The term

“fluorosurfactant” describes a family of chemicals encompassing more than 4,000 unique known




90
   Darwin Dep. Tr. Vol. I, Ex. 2, at 41:6-42:10 (emphasis added).
91
   Farley Dep. Tr. Vol. I, Ex. 35, at 53:6-54:2 (              REDACTED
                                 see also, Walker Dep. Tr. Vol I, Ex. 70, at 74:4-75:21 REDACTED
                                                                    Farley Dep. Ex. DL1385, Ex.
38, at ¶ 11 (“The AFFF MilSpec is a performance specification…[and] provided a set of product
criteria…without specifying specific formulations…”).
92
   Defs’ Mem. at 42.
                                                   25
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compounds.93 Even the Defendants admit that thousands of these fluorosurfactants are

commercially available for use in AFFF agents.94

        Fluorosurfactants are chemicals that have a chain of carbon atoms with one or more

fluorine atoms bonded to some or all the carbon atoms. 95 One end of the carbon chain has various

chemical groups attached that influence the physical properties of the surfactant.96 The carbon

chain may be linear or contain branches.97 Each carbon atom forms 4 bonds with other atoms with

carbon-carbon, carbon-fluorine, and carbon-hydrogen bonds being the most common.98 The

purpose of the fluorosurfactants are to decrease the surface tension of the concentrate/water

solution.99 This makes it easier to generate foam from the solution.100 The surfactants also decrease

the interfacial tension between the foam and the combustible liquid.101 The lower the interfacial

tension, the faster the foam spreads over the combustible liquid.102

        If the Navy had known the precise molecular structure of the fluorosurfactant(s) used in




93
    Buck, R.C., et al. Identification and classification of commercially relevant per- and poly-
fluoroalkyl substances (PFAS). Integr. Environ. Assess. Manag. 2021; 17:1045–1055, attached to
London Decl. as Ex. 71. Dr. Buck is employed by Defendant the Chemours Company.
94
   3M_AFFF_MDL01863928, attached to London Decl. as Ex. 72, at 3M_AFFF_MDL01863932
(as of 1952, thousands of fluorocarbons were known); Falco Dep. Ex. DL390, Ex. 31, at
3M_AFFF_MDL00579821 (Popular Mechanics article noting that as of 1952, it was “theoretically
possible to produce around a trillion fluorocarbon compounds that were being produced in “one
corner of a new building erected by” 3M); Dep. Tr. of Tyco regulatory witness Gregg Ublacker,
dated Mar. 4, 2021, attached to London Decl. as Ex. 73, at 434:8-12 ( REDACTED
                                  Farley Dep. Ex. DL1385, Ex. 38, at ¶ 23 (stating there are more
than 5,000 PFAS analytes).
95
   See Walton Decl., Ex. 23, at ¶¶ 8-12.
96
   Id.
97
   Id.
98
   Id.
99
   Id.
100
    Id.
101
    Id.
102
    Id.
                                                 26
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AFFF, which it did not, and wanted to specify which to use, it could have done so.103 Instead, the

Navy elected to keep the broad term fluorocarbon surfactant in the MilSpec from 1969 to 2019.

Through all ten (10) revisions, it never changed that term.104 The government admitted that it

elected to use that MilSpec to “give the manufacturers the greatest flexibility as to how they would

meet the AFFF MilSpec’s requirements and to promote competition both on performance and

price.”105 The government has acknowledged that it left the selection of a fluorosurfactant to the

discretion of the manufacturer; at his deposition, Mr. Darwin, the MilSpec custodian, recognized:

                                         REDACTED
                                                                   106
                                                                         John Farley, the Director of

Fire Test Operations at NRL, and lead qualifier for AFFF products at NRL, similarly declared:

                                      REDACTED




                 107


Given that the manufacturers were able to choose any of the thousands of fluorosurfactants

available for use in their AFFF, it cannot be held as a matter of law that they were directed by the

government to use only two (2) of them- PFOA or PFOS.

           3. The Manufacturers Were Never Required to Use PFOA and/or PFOS to

103
    Cf. In re Agent Orange Prod. Liab. Litig., 517 F.3d 76, 89-91 (2d Cir. 2008) (Army specified
that the “formulation” for Agent Orange would be a 50/50 mix of two chemicals --- 2,4-D and
2,4,5-T, and at precise purity levels).
104
    Farley Dep. Ex. DL1385-4, Ex. 39, at PENNA-NAVY-010912-17.
105
    US Resp. to Pls.’ RFAs, Ex. 3, at p. 3, Resp. to RFA No. 4.
106
    Darwin Dep. Tr. Vol I., Ex. 2, at 46:17-47:2 (emphasis added); see also Sheinson Dep. Ex.
DCC627 (Decl. of Ronald Sheinson, NRL Research Chemist from 1970 to 2010, dated June 10,
2021), attached to London Decl. as Ex. 74, at ¶ 3 (NRL “does not conduct tests to determine the
chemical constituents of AFFF, as each AFFF manufacturers’ precise chemical formulation is
proprietary information.”).
107
    Farley Dep. Ex. DL1385, Ex. 38, at ¶16 (emphasis added).
                                                27
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               Meet MilSpec
       Defendants argue that the AFFF MilSpec “sufficiently constrained” their choice of

fluorosurfactant because only “certain” surfactants, e.g., PFOS and PFOA, could pass its

performance specifications.108 Defendants then elaborately detail these performance criteria as if

that would render the indeterminate language of the MilSpec – “The concentrate shall consist of

fluorocarbon surfactants plus other compounds as required to conform to the requirements

specified hereinafter”109 – more precise. But the text of the MilSpec is hardly precise and

Defendants’ evidence fails to prove they were constrained in any way to use a particular

fluorosurfactant. Moreover, the contradictory evidence they omit -- that Defendants, in fact, had

the ability to manufacture AFFF that complied with the MilSpec but did not contain PFOA and/or

PFOS as an active ingredient that impacted the foam’s performance -- defies their contentions. In

particular, Defendants fail to mention that a non-C8 derived AFFF product, which consists of over

95% C6-based fluorosurfactants (i.e., 95% C6, 4% C4 and 1% C8),110 was on the DoD’s QPL in

1982, and proves that, at all relevant times, MIL-F-24385 did not require the use of PFOA, PFOS,

or any other C8-based precursor product as an ingredient necessary for performance.111




108
    Defs’ Mem. 42.
109
    Darwin Dep. Ex. DL436, Ex. 42, at NAV01-000000905.
110
    Kleiner Dep. Ex. BB556, Ex. 41, at p. 2 (identifying Ansul’s Ansulite 6% AFFF/AFC-5 as being
on the QPL as of 1982); see also Dep. Tr. of BASF witness Todd Thomas, Ph.D., dated Sept. 16,
2020, attached to London Decl. as Ex. 75, at 106:10- 107:22 (the two fluorosurfactants
incorporated into AFC-5, namely, Lodyne S-103 and Lodyne 81-84, are based on Lodyne 920A
mercaptan that is fractionated into multiple cuts, including 921A, which is a mercaptan used to
make Lodyne surfactants 81-84 and S-103, which are 95-plus percent C6-derived
fluorosurfactants). Of note, this C6-derived AFFF formulation did contain trace levels (1%) of C8
precursors. See Thomas Dep. Ex. LP245, attached to London Decl. as Ex. 76.
111
    Ironically, Defendants’ claim that even PFOA and/or PFOS resulting as an unintended byproduct
of the manufacturing process of AFFF underscore ipso facto they could not have been government
mandated. It is simply not true because the levels of C8 are so low they do not affect the physical
properties or performance of the concentrate or foam. See Walton Decl., Ex. 23, at ¶36.
                                                28
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       The technology to make high purity C6 fluorosurfactants (95%-99%), and the way in which

it was accomplished, has been around since at least the 1960’s and was not a cost-prohibitive

process.112 The process, known as distillation, separates mixtures of chemicals based on the

different boiling points of the chemicals within the mixture and is ancient technology dating back

to 3000 BC.113 The distillation equipment comparable to that used by the fluorosurfactant

manufacturers became commercially available in the 1930s.114 The batch distillation configuration

used by 3M, Dupont, Ciba-Geigy (now BASF) and others consists of readily available

components: a heated pot, a rectifying column, a condenser, and a valve to divert a portion of the

condensed vapor (called condensate) to one or more receivers.115 The distillation process allows

fluorochemical manufacturers and users to separate the compounds into cuts of the desired

fluorosurfactant to 95% or more.116

       The concentration of the desired fluorosurfactants in one or more of the cuts may be high

enough to proceed to the next manufacturing step.117 If not, the cut may be redistilled to further

increase the concentration of the desired fluorosurfactants.118 Redistilling a cut can increase the

concentration of the desired fluorosurfactants to 99% or more by weight.119 However, it is not

economically feasible to make a distillation cut that consists of just one surfactant or surfactants

(100%), that is every single molecule, that all have the same number of fluorinated carbon atoms



112
    Walton Decl., Ex. 23, at ¶¶ 18-28; see also Dep. Tr. of Chemicals Inc. Fed. R. Civ. 30(b)(6)
witness Ashok Moza, dated Nov. 2, 2021, attached to London Decl. as Ex. 77, at 93:25-95:15.
113
    Walton Decl., Ex. 23, at. ¶¶ 18-28.
114
    Id.
115
    Id.
116
    Id. at ¶ 27.
117
    Id.
118
    Id.
119
    Dep. Tr. of AGCCA production, marketing, and sale of components witness William J. Fiedler,
dated October 19, 2021, attached to London Decl. as Ex. 78, at 63:3-20, 69:4-17, 82:8-19 (REDACTED


                                                29
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in their chains.120 Even today, the fluorotelomer surfactants with chains of six (6) fluorinated

carbon atoms (C6 fluorosurfactants) manufactured for use in AFFF concentrates contain trace

(.00008%) amounts of unintended surfactants with eight (8) or more fluorinated carbon atoms.

This level of C8 or higher homologues has no effect on the physical or performance properties of

the concentrate or the foam.121

       Contrary to Defendants argument, they did not have to choose to either save lives with

AFFF or contaminate the nation’s drinking water supply with PFOA and PFOS. The Defendants’

MilSpec AFFF could have saved lives without contaminating the nation’s drinking water supply

with PFOA and PFOS by using shorter-chain fluorosurfactants in its AFFF. At a minimum, the

record evidence demonstrates a hotly disputed question of fact as to whether Defendants were

required to use PFOA and/or PFOS.

           4. The MilSpec Never Explicitly Required that AFFF contain PFOA or PFOS.
       Although a performance specification could theoretically contain a specific formula, such

is not the case with MIL-F-24385, which did not include either the words PFOA or PFOS until

2017, and then only as a quantification limit, not a formulation requirement.122 The U.S. admitted

that the AFFF MilSpec has never required that AFFF contain PFOA or PFOS.123 Mr. Farley

specifically declared:

       From the first 1963 MilSpec until 2019, the AFFF MilSpec was for a film-forming
       agent that required the use of a fluorosurfactant. The MilSpec has never specified
       which fluorosurfactants were to be used; nor has the Navy ever specified any other
       components of AFFF – such as particular hydrocarbon surfactants or solvents – that
       were to be used. In fact, neither NRL nor the Navy are told which fluorosurfactants
       are included in the AFFF products. . . .124


120
    Walton Decl., Ex. 23, at ¶ 28.
121
    Id. at ¶ 36.
122
    Darwin Dep. Ex. DL436, Ex. 42, at NAV01-000000905.
123
    US Resp. to Pls.’ RFAs, Ex. 3, at p. 3, Resp. to RFA No. 5.
124
    Farley Dep. Ex. DL1385, Ex. 38, at ¶ 16 (emphasis added).
                                               30
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       Defendants’ own witnesses concur. For example, National Foam’s Senior Chemist

admitted that PFOA use was never required by the MilSpec:

       Q.                                   REDACTED



                                                 REDACTED
                               125


       Contrary to Defendants’ claims that they were railroaded into using PFOA and PFOS by

the open term “fluorocarbon surfactant,” the record contradicts this assertion. This disagreement

confirms that genuine issues of material fact exist over whether the AFFF MilSpec did or did not

require PFOA or PFOS and whether manufacturers were required to use them to pass Mil-Spec or

not. Defendants chose PFOA and PFOS for their AFFF; not the Navy.

            5. Defendants’ Fluorosurfactants Were Trade Secrets.
       The Defendants’ systematic withholding from the government of the chemical composition

of their product undermines their posturing that the MilSpec restricted their compliance under the

contract. Although Defendants argue that the AFFF MilSpec was reasonably precise requiring

PFOS, PFOA and/or its precursors, the Defendants never disclosed to the Navy or DoD the precise

ingredients in their AFFF – let alone the specific fluorosurfactant(s) because that information was

kept by Defendants as proprietary trade secret(s).

       Defendants submitted no evidence supporting their argument that when the MilSpec says

“fluorocarbon surfactant,” the Navy really meant PFOA or PFOS, and not the thousands of other




125
   Regina Dep. Tr. Vol. II, Ex. 4, at 502:20-503:6 (emphasis added); see also Dep. Tr. of witness
Philip J. Novac who has worked for both Tyco and National Foam, dated Mar. 18, 2021, attached
to London Decl. as Ex. 79, at 229:18-230:1.
                                                31
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potential fluorosurfactants commercially available.126 The U.S., however, has submitted sworn

statements denying the substance of Defendants’ contentions.

       Again, Mr. Farley declared that Defendants kept secret the identity of their surfactants:

       In fact, neither NRL nor the Navy are told which fluorosurfactants are
       included in the AFFF products. That information is a protected trade secret
       protected by each manufacturer. The Safety Data Sheets for AFFF, which, as a
       user of AFFF, I use to understand the risks associated with the product, do not say
       which fluorosurfactants are included in the products. A set of example Safety Data
       Sheets from Buckeye from 2001 and 2017 is attached . . ., although all the Safety
       Data Sheets are similar.127

       Query: if the AFFF formulas are proprietary and the government does not know the

chemical constituents, how can the government knowingly mandate them? Defendants cannot

argue they were constrained by the MilSpec to use only PFOA or PFOS, when they had complete

discretion to create their own “witches brew” to meet the performance specification whose ultimate

composition was never required to be disclosed.




126
    OECD (2018). Toward a new comprehensive global database of per-polyfluoroalkyl substances
(PFASs): Summary report on updated the OECD 2007 list of per and poly fluoroalkyl substances
(PFASs).     Series    on     Risk     Management      No.    39,    OECD,    available    at:
https://www.oecd.org/officialdocuments/publicdisplaydocumentpdf/?cote=ENV-JM-
MONO(2018)7&doclanguage=en (last accessed December 9, 2021), attached to London Decl. as
Ex. 80.
127
    Farley Dep. Ex. DL1385, Ex. 38, at ¶ 16, referencing Farley Dep. Ex. DL1385-6, attached to
London Decl. as Ex. 81. See also, Butenhoff Dep. Ex. DL38 at PENNA-NAVY-020453, and
Santoro Dep. Ex. DL39 at 3M BELL00474506, 3M_BELL00474520, 3M_BELL00474530, 3M
BELL00474537,         3M_BELL00474543,          3M_BELL00474549,          3M_BELL00474555,
3M_BELL00474567, 3M_BELL00474573, 3M_BELL00474579, 3M_BELL00474586, and
3M_BELL00474593 (3M Material Safety Data Sheets (“MSDSs”)), attached to London Decl. as
Exs. 82 and 83, respectively; Novac Dep. Exs. DL1159 at AFFFTC00045290, DL1160, DL1162,
DL1163, and DL1164, and Ublacker Dep. Exs. DL1099 and DL1103 (Tyco MSDS’s), attached to
London Decl. as Exs. 84, 85, 86, 87, 88, 89, and 90, respectively; Vegso Dep. Ex. DL1748 at
BF_00002499, BF_00010323 at BF_00010323, and BF_00000606 at BF_00000606 (Buckeye
MSDS’s), attached to London Decl. as Exs. 91, 92, and 93, respectively; NF000000005 at
NF000000005, and NF000000013 at NF000000013 (National Foam MSDS’s), attached to London
Decl. as Exs. 94 and 95, respectively.

                                               32
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          Plaintiffs have refuted all of Defendants’ evidence and shown instead that the government

did not include reasonably precise specifications in MIL-F-24385 regarding the selection of which

fluorosurfactant to include in MilSpec AFFF. The MilSpec did not force AFFF manufacturers to

use PFOA and/or PFOS, either explicitly or implicitly. At a minimum, the litany of contrary

testimony from federal officers and the availability of alternatives that complied with the

specifications demonstrates the continued existence of a series of unresolved questions of material

fact, which, in turn, defeat Defendants’ instant motion for partial summary judgment.

                 B.     Issues Of Fact Predominate Regarding Whether DoD Continued
                        to Purchase and Use MilSpec AFFF-Containing PFOS, PFOA, and/or
                        Their Precursors with Adequate Knowledge of the Dangers Associated
                        with Same.

          Defendants likewise contend that they satisfied Boyle prong 1 under the “continued use”

doctrine, as originally set forth in Dowd, because, they allege, the DoD continued to purchase and

use MilSpec AFFF-containing PFOS, PFOA and/or their precursors despite some knowledge of

the dangers associated with these chemicals.128 The Court should summarily reject this time-

sensitive argument. The basis for a swift rejection of Defendants’ argument is simple and specific,

at no point prior to May 2016 (at the earliest), when the EPA issued the LHA of 70 ppt (parts per

trillion), can it possibly be argued that the government had actual knowledge of the dangers posed

to humans by PFOS, PFOA, and/or its precursors. 129 Any DoD action taken before that time is not

“continued use” as required for the government contractor defense.

          As set forth below, historically, government knowledge relating to the dangers associated

with PFOS, PFOA and/or their precursors, and, more specifically, these chemicals’ use as AFFF

constituents, can generally be split into two periods of time, namely, pre- and post-2000. Prior to



128
      Defs’ Mem. at 2-3, 43-50.
129
      See infra, Section IV.B.5 (regarding CERCLA).
                                                 33
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2000, the record illustrates an utter lack of knowledge on the part of the government that PFOS,

PFOA and/or their precursors were even ingredients in AFFF. Further, during this pre-2000

timeframe, 3M was consistently touting the safety of AFFF, a claim Defendants steadfastly hold

to this day.130

        Post-2000, when DoD became aware of the presence of PFOS in 3M’s Lightwater® brand

AFFF, and, thereafter, when the government became aware of the potential presence of PFOA

(and/or its precursors) in the telomer-based AFFFs, through to May 2016, the government’s

knowledge regarding hazards associated with these chemicals was never substantially complete.

Partly to blame for this lacuna was that between the period of 2000-2016 the government’s

knowledge was consistently retarded by Defendants’ significant misrepresentations about the

safety of PFOA, PFOS and AFFF, upon which it reasonably relied. Finally, as discussed above,

Defendants’ claim that the government was thoroughly studying AFFF, PFOS and/or PFOA from

the 1970s forward, and thus was fully informed as to their toxicological profiles, is both inaccurate

and unsupported by any proper expert opinion evidence.

        In short, it was not until May 2016, at the earliest, that the record supports any potential

finding that the government had knowledge regarding the dangers of PFOS, PFOA and/or their

precursors, was aware of their presence in MilSpec AFFF, and likewise possessed sufficient
                                                                          131
authority to phaseout AFFFs containing these chemicals. In 2016,                after receiving EPA

guidance, DoD began the phaseout of the long-chain MilSpec AFFF, including the elimination of




130
    See e.g., 3M website, available at https://www.3m.com/3M/en_US/pfas-stewardship-us/health-
science/ (stating “[t]he weight of scientific evidence from decades of research does not show that
PFOS or PFOA causes harm in people at current or past levels.”) (last accessed Dec. 7, 2021).
131
    See generally, Birnbaum Decl., Ex. 6.
                                                 34
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existing stockpiles.132 As such, once DoD had appropriate and necessary information related to

long-chain MilSpec AFFF, and EPA directive, contrary to Defendants’ arguments, it did not

continue to use PFOS, PFOA and/or their precursors in MilSpec-AFFF.133 Rather, once the EPA

provided appropriate and necessary directive, DoD not only stopped purchasing these products but

also made plans to phase them out entirely.

                        1. DoD Was Unaware that PFOS, PFOA and/or Their Precursors
                           Were Even in AFFF Before 2000.
         Prior to 2000, as set forth above, the record before the Court establishes that the DoD was

unaware of which fluorosurfactants were used in MilSpec AFFF as the fluorosurfactants were

maintained as trade secrets. Throughout MDL discovery, multiple government witnesses testified

that, prior to 2000, they had never even heard of PFOS and/or PFOA. For example, Mr. Darwin

testified that                                  REDACTED
                                                                                     134
                                                                                           Mr. Farley




132
      Ex. 131 to Defs’ Mot. [ECF No. 1971-31], at FF_DOD0004_00002990, stating:

         On May 19, 2016, the EPA issued a [Safe Drinking Water Act] lifetime health
         advisory (LHA) recommending that the individual or combined levels of PFOS and
         PFOA concentrations in drinking water be below 70pppt. While the LHA is only
         guidance under the SDWA and not a required or enforceable drinking water
         standard, DoD began taking actions to address impacted drinking water…A part
         of DoD’s multifaceted approach to address PFOS and PFOS, the Department is
         also taking steps to remove and replace AFFF containing PFOS from its
         inventory and supply system…the Department is [also] initiating research and
         development projects related to developing a fluorine free foam, and developing
         technologies to quantify and clean up PFOS and PFOA. (emphasis added)
133
    See AF02-000001138 (Dept. of Air Force Memo directing replacement of C8 legacy AFFF and
replacement with C6 AFFF, August 22, 2016), attached to London Decl. as Ex. 96; PENNA-
NAVY-017115 (Dept. of Navy Memo directing removal and disposal of C8 legacy AFFF, June
17, 2016), attached to London Decl. as Ex. 97.
134
    Darwin Dep. Tr. Vol. I, Ex. 2, at 109:6-21 (            REDACTED

                                                 35
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                                                                     135
similarly testified                REDACTED                                If the former custodian of

MIL-F-24385 and the lead qualifier for qualification on the QPL had never even heard of PFOA

and/or PFOS prior to 2000, the Defendants’ contention that prior to that time, the government had

sufficient information regarding PFOA, PFOS and/or their precursors such that continued use of

these chemicals was tantamount to their approval is dubious at best. At a minimum, the fact that

neither Mr. Darwin nor Mr. Farley were even familiar with the terms PFOA and/or PFOS prior to

2000, creates a triable issue of fact as to whether prior to 2000, there is even a colorable argument

that DoD continued to use MilSpec AFFF containing PFOS, PFOA and/or their precursors with

knowledge of the dangerous propensities of same.

         Moreover, not only has government witness testimony in this case illustrated a fundamental

lack of knowledge even as to the components of AFFF, but when this lack of knowledge is

juxtaposed against the breadth of information known to Defendants over time, but not shared with

the government, the government’s lack of knowledge regarding hazards associated with PFOS,

PFOA and/or their precursors becomes even more apparent. Such behavior on Defendants’ part

is more supportive of punitive damages than summary judgment.

         Perhaps one of the most glaring examples is 3M delaying over 20 years to notify the EPA

that their proprietary chemical, PFOS, had contaminated the globe, and was in the blood of the

general population.136 However, despite holding this knowledge since 1975, 3M lawyers urged its




135
      Farley Dep. Tr. Vol. I, Ex. 35, at 89:15-24 (c             REDACTED
                                              see also Id. at 67:7-13 (“ REDACTED
                            ”), 70:17-24                    REDACTED
                                         129:22-24 (             REDACTED

136
   See Butenhoff Dep. Tr. Vol. I, Ex. 21, at 300:1-10 (testifying that as of 1975, 3M had reason to
suspect that PFOS was in the blood of the general population).
                                                 36
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scientists “not to release the true identity (PFOS)”137 of the compound being found in the blood of

the general population. It was not until May 15, 1998, that 3M finally notified the EPA of this

fact.138 3M concedes that it did not tell the government that PFOS was in the blood of the general

population until 1998, nearly twenty years after it was known to 3M. Surely this knowledge gap

creates an issue of fact regarding the extent of the government’s knowledge pertaining to PFOS

and its potential to cause human harm, which is relevant and critical to any assessment of the

government’s decision to continue to use long-chain MilSpec AFFFs.

                       2. Throughout the 1980s and 1990s 3M Touted the Safety of AFFF.


       3M misrepresented and/or downplayed the environmental and human health risks

associated with AFFF, as well as withholding PFOS exposure data. For example, 3M informed the

government that “data available from standard toxicity tests” indicate that AFFF was “relatively

innocuous.”139 In 1974, 3M told NRL that its AFFF was biodegradable and presented no adverse

effects on the environment.140 3M even went so far as to advertise its AFFF as “biodegradable,

low in toxicity, and it can be treated in biological treatment systems.”141

       Eric Reiner, Ph.D., 3M’s former Environmental Specialist, repeatedly downplayed

concerns about the use of AFFF through the 1980s. In 1983, in response to concerns about potential

groundwater contamination from AFFF use at Mather Air Force Base, Dr. Reiner claimed that

3M’s AFFF “is practically nontoxic,” and stated that “we do not expect that hazardous levels of



137
    See Gerber Dep. Ex. LP68, Ex. 20. The reference to CAL in this exhibit is 3M’s Central
Analytical Lab (“CAL”).
138
    See Gerber Dep. Ex. DL353, Ex. 50, at 3M_BELL02796621.
139
    Darwin Dep. Ex. DL53, relevant pages attached to London Decl. as Ex. 98, at Navy02-
00007167.
140
    Navy02-00007013, attached to London Decl. as Ex. 99, at Navy02-00007025.
141
    3M_BELL03194246, attached to London Decl. as Ex. 100, at 3M_BELL03194250; see also
3M_BELL02617421, attached to London Decl. as Ex. 101, at 3M_BELL02617425.
                                                 37
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groundwater contamination are likely to result from your usage of the 3M product.”142 Also, in

1983, Dr. Reiner provided similar information to George Hess at the EPA, calling 3M’s AFFF

“considerably less toxic than jet fuel.”143

       3M’s declarations of safety continued through the 1990s. The company’s 1993 Product

Toxicity Summary Sheet for FC-203CF Light Water Brand AFFF claims that following animal

studies, the company concluded that FC-203CF is considered practically non-toxic orally and

dermally and only “moderately irritating” to the eyes under the conditions of this study.144 REDACTED




                                       45
                                            These misrepresentations by 3M had the ultimate net effect

of delaying the government’s ability to fully understand the hazards associated with PFOS,

including its propensity to contaminate drinking water and thus the great potential for human

exposure. This further renders the question of the government’s knowledge of dangers associated

with these chemicals even more complex and impossible to determine as a matter of law.

       Although Defendants point to random studies conducted by various government agencies,

Plaintiffs’ expert, Dr. Birnbaum, none of these146 would have provided the government with

sufficient information of human health risk. The studies are insufficient because they are not, inter

alia: (1) of the type, quality, or scope considered to be the gold standard for toxicology; (2) none

of the studies were designed to investigate the no-observable effect level or cancer slope to




142
    Walker Dep. Ex. BB816, attached to London Decl. as Ex. 102, at 3M_BELL01440788.
143
    3M_BELL01440784, attached to London Decl. as Ex. 103.
144
    US-Darwin-00005906, attached to London Decl. as Ex. 104, at US-Darwin-00005907.
145
    Santoro Dep. Ex. DL65 (documenting Apr. 12, 1994 call), attached to London Decl. as Ex. 105,
at 3M_AFFF _MDL00384561.
146
    Defs’ Mem. at 22.
                                                    38
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determine potential harm to humans from PFOA and PFOS exposure; (3) few of the cited studies

were published in the peer-reviewed literature; (4) none of these studies evaluated PFOA; (5) only

a narrow range of effects were examined; and (6) the studies did not consider exposure assessment

or quantify the levels of exposure that might lead to human health risk.147 These are just some of

the deficient aspects of the studies that Defendants, without expert analysis, inaccurately rely upon

to argue that the government knew of the dangers associated with the MilSpec AFFF containing-

PFOS, PFOA and/or their precursors.

          In sum, Plaintiffs’ evidence substantiates that prior to 2000, relevant government witnesses

had never even heard of PFOS, PFOA and/or their precursors; prior to 1998, the government was

unaware that the general population had been exposed to PFOS, including virtually every

American having it in their blood; the government had not done an independent assessment of the

toxicity of PFOS, PFOA and/or AFFF beginning in the 1970s; and finally, throughout their use of

AFFF, the government was repeatedly being told by the Defendants that PFOS, PFOA and AFFF

were safe. Taking the totality of this record together, it is clear that there are countless issues of

fact for a jury to decide regarding the extent of the government’s knowledge of the hazards

associated with PFOS, PFOA and/or their precursors, their use in AFFF, and the extent to which

the government knew of toxicity associated with these AFFFs.

                         3. From 2000 to 2016, the Government’s Knowledge of Dangers
                            Associated with PFOA and PFOS Was Never Adequate.
          At the time it phased out C8 chemistries, 3M specifically represented that despite its

phaseout, “[a]ll existing scientific knowledge indicates that the presence of these materials at these

very low levels does not pose a human health or environmental risk.”148 As such, although the



147
      See Birnbaum Decl., Ex. 6, at ¶32.
148
      Reich Dep. Ex. DL49, Ex. 47.
                                                  39
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government learned of the presence of PFOS in 3M’s AFFF just prior to 2000, it was

simultaneously being assured by 3M that products containing such C8 chemistries were safe with

respect to human health and the environment, which would include 3M’s LightWater® AFFF.

Even in 2000, when EPA proposed a Significant New Use Rule (“SNUR”),149 which prevented

companies from either manufacturing or importing PFOS in the United States (with limited

exceptions) because it lacked actual knowledge of the dangers to human health posed by PFAS

EPA explicitly advised DoD they could continue to use existing stocks of AFFF containing PFOS.

In fact, in a presentation at the Pentagon on March 16, 2001, EPA told DoD that the SNUR

“(w)ould not affect continued use of stocks of chemicals obtained before the end of the

phaseout.”150 (Emphasis added). This evidences the government’s lack of understanding of the

dangers posed by PFOS, including on the part of EPA, upon whom the DoD must rely to inform

its decisions with respect to the use of potentially toxic chemicals.

       Post-2000, when new telomer-based AFFFs became available for purchase by DoD, largely

as a result of 3M’s phaseout, the government was led to believe telomer based AFFFs were PFOA

and PFOS free. Mr. Walker testified                          REDACTED
                                                                                              151




149
    A SNUR is a rule that EPA issues in order to get advance notice about the new use of a chemical
that could have potential to harm human health or the environment.
150
    Dep. Tr. of Air Force witness Curtis Bowling, dated October 7, 2021, attached to London Decl.
as Ex. 106, at 217:10-218:7 (                           REDACTED
                                                              see also, Bowling Dep. Ex. DCC705,
attached to London Decl. as Ex. 107, at EPA01-00161542 and EPA01-00161543 (2001
presentation of Mary Dominiak of EPA to DoD stating that “[c]urrent EPA activities would not
restrict continued use of PFOS-based AFFF stocks” (emphasis added)).
151
    Walker Dep. Tr. Vol. I, Ex. 70, at 173:19-175:24 (                REDACTED


                                                 40
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          Preying on the government’s naivete and taking advantage of the AFFF market void left

by 3M’s phaseout, the telomer-AFFF manufacturers, like 3M before them, inaccurately, and

routinely, boasted that their AFFFs were safe and PFOA-free. This disinformation was often

transmitted through the industry-funded group the Fire Fighting Foam Coalition (“FFFC”).152

Through the FFFC, the AFFF-telomer manufacturers told the government that “[f]luorotelomer-

based foams are not made with PFOA (perfluorooctanoic acid) or any PFOS-based products….”153,
154
      Examples of such misrepresentations in this regard include the following:

              •                                  REDACTED

                                                                     155



              •
                                        156



              •   In June 2019, responding to a customer’s concerns regarding C8 in its AFFF stock,
                  Defendant Buckeye stated that their foam “has never contained any PFOS/A” and
                  that “PFOS/A (PFAS)…has nothing to do with C-6 or C-8.”157

152
    On its website, the FFFC describes itself as a “coalition of industry leaders formed to represent
manufacturers, distributors and users on issues related to the efficacy and environmental impact of
fire-fighting foam.” See https://www.fffc.org/ (last accessed Aug. 9, 2021).
153
    Korzeniowski Dep. Ex. DL93, Ex. 68, at Navy02-00002442; see also Regina Dep. Ex. DL517,
Ex. 69, at AFFF-MDL-CHE-00000911 (2001 FFFC presentation to the Environmental Protection
Agency (“EPA”) stating that telomer-based AFFF does not contain any PFOA-based products.)
154
    The FFFC’s membership includes, inter alia, Ansul, Chemguard, Dynax, National Foam, Fire
Service Plus and Solberg, all Defendants in the AFFF MDL.
155
    Regina Dep. Ex. DL480, attached to London Decl. as Ex. 108; see also Dep. Tr. of Anne
Regina, dated Dec. 1, 2020, attached to London Decl. as Ex. 109, at 294:3-13 (REDACTED
156
  Novac Dep. Ex. DL1126, attached to London Decl. as Ex.110, at AFFFTC00196371; see also       REDACTED
Novac Dep. Ex. DL1134, attached to London Decl, as Ex. 111, at AFFFTC00418728


157
   Vegso Dep. Ex. DL1753, attached to London Decl. as Ex. 112, at BF_00390042-43 (also stating
that C8-based foams are not harmful and “very unlikely” to be “regulated out,” and admitting that
Buckeye foams contained C8 until at least October 2018); see also Dep. Tr. of Buckeye witness


                                                 41
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       More specifically, the government was led to believe that telomer-based foams were

primarily based on C6 chemistry rather than C8,158                    REDACTED
                                                      159
                                                            This is corroborated by the testimony of

United States witness Dr. Ronald Sheinson, who between 1970 and 2010, served as a Research

Chemist at the NRL. Dr. Sheinson testified h                     REDACTED
                                            On the contrary, however, the evidence to date belies

this premise as multiple telomer-based fluorosurfactants manufacturers in fact were selling

fluorosurfactants for use in telomer-based AFFF that were centered around C8-chemistry (not C6),

and thus capable of degrading to PFOA.161

       Although PFOA may not be intentionally added to telomer-based AFFFs (in most cases),

these AFFFs nonetheless contain fluorosurfactants that include eight-carbon molecules (C8s or

PFOA precursors) that degrade to PFOA. Because these precursors degrade to PFOA in the

environment, these C8s or PFOA precursors are included within the scope of the EPA’s 2010/2015


                                                                                             REDACTED
Jim Devonshire, dated Oct. 27, 2021, attached to London Decl. as Ex. 113, at 144:7-11 (
                                                                                       .
158
    See Dep. Tr. of NRL witness Ronald Sheinson, Ph.D., dated June 28, 2021 (“Sheinson Dep.
Tr.”), attached to London Decl. as Ex. 114, at 137:10-138:18 (       REDACTED
                                                                   see also, Regina Dep. Ex.
DL464, attached to London Decl. as Ex. 115, at NF000165533 (stating that the FFFC led the EPA
to wrongly believe that AFFF was made only with C6 surfactants).
159
    See, e.g., Novac Dep. Ex. DL1126, Ex. 110, at AFFFTC00196372 (
                                                                           see also Novac Dep.
Ex. DL1125, attached to London Decl. as Ex. 116, at AFFFTC00728487 (stating that “REDACTED
                                                                   Novac Dep. Ex. DL1135,
attached to London Decl. as Ex. 117, at AFFFTC00043585               REDACTED

160
   See Sheinson Dep. Tr., Ex. 114, at 137:10-138:18.
161
   See, e.g., Dep. Tr. of Dynax Fed. R. Civ. 30(b)(6) witness Eduard Kleiner, Ph.D., dated Nov.
10, 2020, attached to London Decl. as Ex. 118, at 316:14-22          REDACTED

                                               42
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PFOA Stewardship Program, which required essentially complete reduction of PFOA by the end

of 2015.162 This important fact -- that the C8s in fluorosurfactants utilized in telomer-based AFFF

can degrade to PFOA in the environment – is never mentioned in any of the FFFC statements.

Instead, it repeatedly stated that telomer-based foams are PFOA-free, a patently misleading

statement. This drumbeat of misleading statements further delayed the government’s ability to

understand the totality of the dangerous associated with AFFFs containing PFOA and/or its

precursors. In short, although the Stewardship Program was put into place in 2006, due to

misrepresentations on the part of the AFFF-telomer manufacturers, the government was delayed

in its understanding of the role PFOA played in regard to AFFF.

                      4. DoD Did Not Act Until 2016 Due to Industry’s Lack of
                         Transparency and Because PFAS Toxicity Knowledge Was
                         Evolving.
       3M’s failure to disclose that it knew that PFOS was in the blood of the general population

as early as 1975, led to a three-decade long delay in the commencement of the regulatory process

of examining PFAS toxicity. Similarly, 3M’s withholding of hundreds of other PFAS studies until

2000, further delayed PFAS investigation by safety regulators. When 3M withdrew from the AFFF

market in 2002, the DoD was also still being assured by the AFFF-telomer manufacturers that their

AFFF was safe and posed no risk of harm, a position they hold to this day. Despite these industry

reassurances, the EPA, to its credit, as part of a precautionary approach, began in 2006 to conduct

its own investigation on PFAS toxicology, including through the PFOA Stewardship Program.

Similarly, in 2015, the Air Force, again, out of an abundance of caution, ceased the use of AFFF

in training exercises.163 Despite these efforts to understand PFAS and to treat them with a


162
    Buck Dep. Ex. DL371, Ex. 67, at pp. 3 & 11 (noting that the scope of the program includes
PFOA precursor chemicals, which includes chemicals manufactured through the telomer
manufacturing process).
163
    See AF04-00768856, attached to London Decl. as Ex. 119, at AF04-00768857.
                                                43
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precautionary approach, even as late as 2009, when it issued its provisional LHA, EPA maintained

that the science regarding PFAS and human health risk was still “inconclusive.”164 Other

authoritative agencies and groups said the same.165

       Further, between 2000-2016, PFAS toxicity knowledge was evolving. During this time,

this evolution included milestone events that increased the scientific community’s knowledge of

PFAS toxicity. For example, between 2011-2012, the results of the first ever large-scale

(approximately 80,000 people) epidemiological study of the general population were published,

which showed statistically significant associations between PFOA and cancer, among other

diseases.166 In 2016, the International Agency for Research on Cancer (“IARC”), found that PFOA

was a “possible human carcinogen.”167 It was in this context, that EPA made its final determination

regarding safety limits of PFAS in drinking water, and finally quantified a lifetime exposure limit

for these chemicals. However, again, when EPA did make such determination, DoD, relying on

EPA’s guidance, acted promptly to implement a protocol for the discontinuance of legacy C8-

based AFFF, and a program to replace and remove existing stockpiles at significant expense.168

                      5. DoD Defers to EPA for Public Health Decisions.
       All departments and agencies of the federal government --- including the DoD --- defer to

the EPA to develop and announce federal policy as it relates to use of hazardous substances. DoD


164
    EPA, Provisional Health Advisories for Perfluorooctanoic Acid (PFOA) and Pefluorooctane
Sulfonate (PFOS), dated Jan. 8, 2009, available at https://www.epa.gov/sites/default/files/2015-
09/documents/pfoa-pfos-provisional.pdf (last accessed Dec. 17, 2021), attached to London Decl.
as Ex. 120, at p. 1.
165
    See Birnbaum Decl., Ex. 6, at ¶ 20; Butenhoff Dep. Ex. DL74B, attached to London Decl. as
Ex. 121, at p. 5 (“Although a large number of epidemiology studies have examined the potential
of perfluoroalkyl compounds to induce adverse health effects, most of the studies are cross-
sectional in design and do not establish causality.”).
166
    See C8 Science Panel website, available at http://www.c8sciencepanel.org/prob_link.html
(last accessed Dec. 22, 2021).
167
    Regina Dep. Ex. DL455, attached to London Decl. as Ex. 122, at p. 3.
168
    See note 132, supra.
                                                44
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does not make determinations of a particular substance’s toxicity; it relies on EPA to assess

chemicals’ toxicity to humans. At the highest level, the Comprehensive Environmental Response,

Compensation, and Liability Act (“CERCLA” or “Superfund”) expressly forbids any federal

department, agency, or instrumentality to adopt any rule, guideline, regulation, or criteria that is

inconsistent with those established by the EPA.169 The DoD reiterates this as its guiding principle,

requiring compliance with CERCLA.170

       As Dr. Birnbaum points out succinctly, “[t]he DoD relies on the EPA and a formal

deliberative process for hazard identification, and more specifically, the determination as to

whether a compound present in a product in use poses a risk of harm to human health, and to guide

management decisions regarding product use.”171 In regard to PFOA and PFOS, “[i]t was not until

2016 that the EPA provided a formal hazard assessment for PFOA or PFOS in drinking water,

sufficient for the DoD to rely upon to make sound management decisions, specifically, as to

whether to continue to use AFFF containing PFOA or PFOS.”172 Thus, prior to May 2016, DoD

would not have been in a position to phaseout MilSpec AFFFs containing PFOA, PFOS and/or

their precursors, which is consistent with testimony from government witnesses, including Mr.

Farley, who specifically testified that the                    REDACTED
       s“     REDACTED              .”173



169
    42 U.S.C. §§ 9601(2), 9620 (a); see also Exs. to Defs’ Mot. 109, 110, & 111 [ECF Nos. 1971-
9, 1971-10, 1971-11, respectively].
170
    DoD Manual 4715.20, Enc. 2 (1)(a), Enc. 3 (1)(a), (b). DOD Manual § 4715.20 (March 9,
2012), available at
https://www.esd.whs.mil/Portals/54/Documents/DD/issuances/dodm/471520m.pdf (last accessed
Nov. 29, 2021), attached to London Decl. as Ex. 123.
171
    Birnbaum Decl., Ex. 6, at ¶12.
172
    Id. at ¶ 19.
173
    Farley Dep. Tr. Vol. I, Ex. 35, at 332:5-333:5; see also, Walker Dep. Ex. DL1380, attached to
London Decl. as Ex. 124 (notice from Air Force noting that it did not have reason to change its
policies regarding foam until 2016 when the EPA issued a health advisory).
                                                45
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       Notably in 2021, the DoD’s Inspector General investigating the DoD's use of AFFF

specifically stated that “[emerging contaminant]” program officials did not require proactive risk

management actions to PFAS containing AFFF regarding human health risks until 2016, stating:

       EC program officials issued a risk alert in 2011 that describe the risks to DoD areas
       of concern including risks to human health and the environment. However, the 2011
       risk alert was not a risk management action because it was not endorsed by the
       Emerging Chemicals of Concern Governance Council. Therefore DoD officials
       were not required to plan, program and budget for any actions in response to the
       2011 risk alert. EC officials did not require proactive management actions for PFAS
       containing AFFF until 2016. 174 (emphasis added).

       Once EPA provided direction to DoD in 2016, however, DoD began to phase out these

AFFFs, which, again, evidences that when armed with the requisite information and authority,

DoD initiated its program to replace existing stock and discontinue use of these harmful

products.175

       In light of the many controverted questions of fact on this record, it cannot be said, as a

matter of law, that the government had actual knowledge of the dangers of PFOA, PFOS and/or

their precursors, and nonetheless continued to use AFFFs containing these noxious chemicals,

especially given the testimony of the United States witnesses that, inter alia: (1) prior to 2000,

they had no idea what PFOA and PFOS were and/or that they were found in AFFF; (2) at or about

the time of 3M’s phaseout, the government believed telomer-based AFFFs to be a solution to the

PFOS problem, because such AFFFs did not possess the same dangerous associated with 3M’s

AFFF; (3) the government was not always aware that telomer-based AFFFs contained PFOA; (4)

the government was being told that telomer-based AFFFs were PFOA-free and safe; (5) finally,




174
    See 2021 Inspector General Report titled “Evaluation of the Department of Defense’s Actions
to Control Contaminant Effects from Perfluoroalkyl and Polyfluoroalkyl Substances at
Department of Defense Installations,” attached to the London Decl. as Ex. 125, at i-ii.
175
    See note 132, supra.
                                                46
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DoD had not yet received directive from the EPA concerning the hazards of PFOA and PFOS and

thus lacked sufficient authority to phaseout MilSpec AFFFs containing same.

         Defendants rely heavily on Dowd, supra and Ramey v. Martin-Baker Aircraft Co., 874 F.2d

946 (4th Cir. 1989), to contend that DoD continued to purchase and use MilSpec AFFF-containing

PFOS and PFOA despite full knowledge of the dangers associated with these chemicals. This

purported knowledge, according to Defendants’ interpretation of these cases, entitles them to the

government contractor defense. Such reliance is misplaced as both cases are factually

distinguishable.

         Dowd turned on the Army’s “extensive familiarity and field experience” with the defective

product at issue there, namely, the 540 rotor system being used in certain helicopters for which the

Army had conducted investigations, and found the system to be responsible for multiple helicopter

crashes but yet continued to use that system.176 In fact, there, the Army went so far as to reject

proposals by the manufacturer to fix the defective rotors, which clearly demonstrated the

government’s approval of the design.177

         In contrast, the government’s familiarity and knowledge with the dangers posed by PFOS

and PFOA was woefully lacking: (a) DoD did not actually know that either of these chemicals

were in AFFF until 2000, at the very earliest; (b) DoD was unaware until 1998 of the presence of

PFOS in the blood of the general population; (c) even when the government began to learn of the

presence of these chemicals in AFFF it was led to believe that these chemicals were safe and that

PFOA had been eliminated from AFFF well before that was true; and (d) as explained by Plaintiff’s

expert, none of the studies Defendants cited as allegedly providing notice of toxicity associated




176
      Dowd, 792 F.2d at 410-412.
177
      Id. at 411.
                                                47
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with PFOS and/or PFOA of the quality to necessary to impute the government with knowledge of

potential harm to human health. As such, unlike in Dowd, the government did not approve of the

continued use of the defective products at issue with actual knowledge of their dangers.

          Defendants’ reliance on Ramey is equally unavailing. In Ramey, the court held that the

Navy’s participation in the design of an aircraft seat constituted more than a “rubber-stamping” of

the design, and, therefore, under the first prong of Boyle, the government contractor defense was

a bar to plaintiff’s claims.178 There, the Navy had issued the original design specifications for the

aircraft seat, inspected and tested the allegedly defective seat, and even examined a mock-up of

the aircraft seat.179 Conversely, here, as discussed above, when MIL-F-24385 was issued, it was

issued as a performance specification, not a design specification, and, as such, the Navy never

dictated a specific recipe for AFFF like it did for the aircraft seat in Ramey or the formulation for

Agent Orange. Thus, Ramey does not support the application of the government contractor defense

in this case.

          Finally, Defendants’ reliance on Agent Orange is also misdirected. There, one of the

defendants considered it “impossible” to use a different herbicide other than the 2,4,5-T specified

in the government contract for Agent Orange, “because the Army had studied only the normal

esters” and insisted upon a testing if the product was to be altered. 517 F.3d at 91. No such evidence

of government insistence on the use of PFOS or PFOA because of studies it conducted exists here.

A further distinction exists as plaintiffs there alleged that a different manufacturing method would

have resulted in nearly non-detectable amount of dioxin being produced during the manufacture

of Agent Orange, and that would have likely eliminated the totality of the harm being alleged by




178
      Ramey, 874 F.2d at 950.
179
      Id.
                                                 48
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plaintiff.180 The Agent Orange court agreed with plaintiffs that their claim that a different

manufacturing process would have resulted in less harm to plaintiffs, would, at a minimum, create

an issue of fact with regard to whether the defendants could have complied with their contractual

obligations under the relevant procurement contract while causing less danger to military

personnel. Id. at 94. Such is likewise the case here. Defendants could have manufactured a safer

alternative product either through using a shorter-chain C6-based fluorosurfactant in their AFFFs

and/or by distilling out C8-compounds before incorporating fluorosurfactants into AFFF products,

which still would have still allowed AFFF manufacturers to meet the performance requirements

of MIL-F-24385. Here, Plaintiffs have supported these alternative manufacturing theories with

competent expert analysis.

          Because the Agent Orange court agreed with plaintiffs that a different manufacturing

method may have resulted in lesser harm,181 the court went on to ascertain whether the government

had tacitly accepted the toxicity of dioxin by evaluating and examining such purported toxicity

and continuing to use the product nonetheless. However, unlike in Agent Orange, here, the

government was not evaluating and examining the toxicity of PFOS and/or PFOA. Rather, the

studies conducted by the government, according to Plaintiff’s expert, Dr. Birnbaum, were

insufficient to put the government on notice of the risk of human harm resulting from the use of

AFFF. Certainly, Dr. Birnbaum’s opinion regarding the weight to be given to the toxicity studies

cited by Defendants creates an issue of fact with respect to what knowledge (if any) one can gain

about human health risk from Defendants’ “toxicity” studies. In short, the factual record before




180
      In re Agent Orange Prod. Liab. Litig., 517 F.3d at 94.
181
      Id. at 94.
                                                  49
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this Court is plainly different than that before the Agent Orange court, and, as such, it simply does

not support Defendants’ position that they are entitled to the government contractor defense.182

       It simply cannot be said, as a matter of law, that DoD continued to purchase and use AFFF

despite adequate knowledge of the dangers associated with same, and, as such, Defendants’

Motion should be denied.

V.     CONCLUSION

       As detailed above, and summarized in the attached Statement of Material Facts in

Dispute,183 multiple genuine issues of material fact remain for the jury to decide, thus precluding

summary judgment. Plaintiffs respectfully request that the Court deny Defendants’ Motion for

Partial Summary Judgment on the First Element of the Government Contractor Immunity Defense

and grant such other relief as the Court deems just and proper.


Dated: December 22, 2021                                      /s/ Fred Thompson, III
                                                              Motley Rice LLC
                                                              28 Bridgeside Boulevard
                                                              Mt. Pleasant, SC 29464
                                                              Phone: (843) 216-9000
                                                              Fax: 843-216-9440
                                                              fthompson@motleyrice.com
                                                              Plaintiffs’ Liaison Counsel

                                                                     -and-



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    Both Lewis v. Babcock Indus., Inc., 985 F.2d 83 (2d Cir. 1993) and Brinson v. Raytheon Co.,
571 F.3d 1348 (11th Cir. 2009) are equally inapposite. In Lewis, the court held that because the
Air Force had exercised discretion in making changes to the knowingly defective cables at issue
there, it had approved of the design specifications despite knowledge of the alleged defect. Lewis,
985 F.2d at 89. Similarly, in Brinson, the Eleventh Circuit held that the application of the
government contractor defense to be proper where the Air Force ordered rudder trim system’s that
were alleged to be defective but which the Air Force had been significantly involved in selecting
them. Brinson, 571 F.3d at 1354-56. These cases stand in stark contrast to the factual circumstances
presented here where the government never had full knowledge of the dangers associated with
PFOS, PFOA and/or AFFF before May 2016, at the earliest.
183
    See Appendix.
                                                 50
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                                                             /s/ Michael A. London
                                                             Michael A London
                                                             Douglas and London PC
                                                             59 Maiden Lane, 6th Floor
                                                             New York, NY 10038
                                                             Phone: 212-566-7500
                                                             Fax: 212-566-7501
                                                             mlondon@douglasandlondon.com

                                                             Paul J. Napoli
                                                             Napoli Shkolnik PLLC
                                                             1301 Avenue of The Americas
                                                             10th Floor
                                                             New York, NY 10019
                                                             Phone: 212-397-1000
                                                             Fax: 646-843-7603
                                                             pnapoli@napolilaw.com

                                                             Scott Summy
                                                             Baron & Budd, P.C.
                                                             3102 Oak Lawn Avenue, Suite 1100
                                                             Dallas, TX 75219
                                                             Phone: 214-521-3605
                                                             Fax: 214-520-1181
                                                             ssummy@baronbudd.com

                                                             Co-lead Counsel for Plaintiffs




                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was electronically filed with

this Court’s CM/ECF on this 22nd day of December, 2021 and was thus served electronically upon

counsel of record.

                                                             /s/ Fred Thompson, III




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                       INDEX OF MATERIAL FACTS IN DISPUTE
                         PURSUANT TO LOCAL RULE 7.05(A)(4)


GENUINE ISSUES OF MATERIAL FACT                                    LOCATION IN RECORD
Does MIL-F-24385 impose a formulation requirement or a             Pltfs’ Mem. at 24-25
performance requirement?

Did any version of the military specification for AFFF (MIL-       Pltfs’ Mem. at 25-27
F-24385) ever require the use of a particular fluorinated
surfactant?

Did any version of the military specification for AFFF (MIL-       Pltfs’ Mem. at 30-33
F-24385) ever require the use of C8 compounds-- specifically
PFOA, PFOS, and/or their precursors?

Were the AFFF manufacturers constrained to use C8                  Pltfs’ Mem. at 28-30
fluorosurfactants to pass the performance specifications of
MIL-F-24385?

Did NRL know the composition of the fluorinated surfactant         Pltfs’ Mem. at 6-9
3M was using in the AFFF formulation FX183 developed for
NRL in 1963?

Did NRL or NAVSEA know the composition of the                      Pltfs’ Mem. at 31-33
fluorinated surfactant any manufacturer used in any AFFF
formulation submitted for qualification under MIL-F-24385??

Could the AFFF manufacturers have used any of the thousands Pltfs’ Mem. at 25-27
of fluorosurfactants to meet MIL-F-24385?

Could Defendants have met MIL-F-24385 by using a safer,            Pltfs’ Mem. at 28-30
shorter-chain fluorinated surfactant (i.e., C6) and if so, when?

Was the DoD aware, at the time that it promulgated MIL-F-          Pltfs’ Mem. at 33-37
24385, of the risks to human and environmental health
associated with the use of PFOA or PFOS in AFFF
formulations?

Was the government thoroughly studying the risks to human          Pltfs’ Mem. at 37-43
and environmental health posed by AFFF, PFOS and/or PFOA
from the 1970s forward?

Was the government aware, at the time that it promulgated          Pltfs’ Mem. at 31-33; 35-37
MIL-F-24385, that 3M’s AFFF was made with PFOS?
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Was the government aware, at the time that it promulgated            Pltfs’ Mem. at 15-18; 31-33;
MIL-F-24385, that the telomer manufacturers made AFFF                35-37
with PFOA and precursors that break down into PFOA?

Did 3M know by 1980 that PFOS was bioaccumulative, that              Pltfs’ Mem. at 11-15; 33-37
PFOS was found in blood of the general population, and that it
was toxic to monkeys?

Was the DoD aware of the widespread presence of PFOS or              Pltfs’ Mem. at 33-40
PFOA in the blood of the general population from the use of
AFFF throughout the 1960s,70s, 80s and 90s?

Was the DoD aware of the widespread presence of PFOS and             Pltfs’ Mem. at 11-15; 35-39
PFOA in the blood of the general population from the use of
AFFF, and if so when?

Was the DOD aware of the presence of PFOA or PFOS in                 Pltfs’ Mem. at 43-50
drinking water from the use of AFFF in a quantified amount of
PFOA or PFOS that posed a risk of harm to human health, and
if so when?

Does 3M, the FFFC, and/or any of its members consistently            Pltfs’ Mem. at 39-43
maintain today that the amount of PFOA or PFOS (or their
precursors) found in the environment and in drinking water
throughout the United States poses absolutely no risk of harm
to human health?

Did 3M’s failure to disclose what it knew about the presence         Pltfs’ Mem. at 43-46
of PFOS in the blood of the general population in the 1970s
delay for decades the regulatory process that culminated in
EPA’s 2016 issuance of a lifetime health advisory for PFOA
and PFOS in drinking water?

Did 3M fail to disclose what they knew from decades of               Pltfs’ Mem. at 12-15; 36-37
internal studies demonstrating harmful effects to laboratory
animals exposed to PFOA and PFOS including, inter alia,
Leydig cell tumors in rats in multiple studies, a “triad” of three
different types of tumors in rats in one single study, and liver
and kidney effects in multiple species including monkeys and
others?

Did 3M disclose to the EPA or military that in 1998 it               Pltfs’ Mem. at 15
considered PFOS to be “insidiously toxic”?

Did 3M represent throughout the 1970s, 80s and 90s that              Pltfs’ Mem. at 37-39
PFOS was biodegradable, practically non-toxic, of low risk to


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the environment, and could be treated with biological
treatment processes?

Did 3M disclose to the government before the year 2000 what      Pltfs’ Mem. at 12-15; 35-37
the company had learned about PFOS being bioaccumulative,
found in the blood of the general population, and was toxic to
monkeys?

Was the government aware, after 3M’s phaseout of PFOS, that      Pltfs’ Mem. at 15-18; 39-43
telomer-based AFFF was made with PFOA and PFOA
precursors that break down into PFOA?

Did the government know that 3M’s PFOS was found in the          Pltfs’ Mem. at 12-15; 35-37
blood of the general population before 3M’s disclosure in
1998?

Did the government rely on 3M’s representations that 3M’s        Pltfs’ Mem. at 37-40
AFFF was non-toxic, biodegradable, and presented no adverse
effects to human health?

Did DoD reasonably rely on EPA’s formal risk assessment for      Pltfs’ Mem. at 44-47
decisions regarding AFFF?

Did DoD discontinue use of AFFFs containing PFOA and/or          Pltfs’ Mem. at 44-47
PFOS when EPA issued its formal hazard assessment in May
2016?

Does the 800 parts per billion (ppb) limitation on PFOA and      Pltfs’ Mem. at 10; 28-30; 31-
PFOS in the current version of MIL-F-24385 indicate that the     33
government has always known that PFOA and PFOS are in
AFFF or is somehow endorsing its use?

Did EPA know in 2009, when it issued its PHAL announcing         Pltfs’ Mem. at 43-44
that the evidence was “inconclusive,” that PFOA presented
risks to human health?




                                              3
